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UNITED STATES OLSTRECT CoukT
NokTHERW DESTRret of Moktys

Rear J. Kechone ,

Planta
£0 W 5545S _Mfe
Ve Cw Boho No» -
Mak S. Sor , COMPLAINT

Memos gf FOOL Legal Defiant
Mshes of QOL GeubuDysdrane Ramus Teun |
Mickle Schonest , SBeneley s Wetyra
Te Bowden , Seeedeys Wehgae
Ce Hank, Media ddan of tala cx Aamep
Ss Coker, Whadin wedulla CF Ann,
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RN Taweh | Note ck Hronhe Stare Posen
G. Espino, webid Drader of Lreadn Sele Yoten
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Warn Palme, Wotan Guida Stake Yon
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Waho , Claisfcabor Cepabumk Ued ok Wola CX Ame
Ld. ON) Lyeubned ok Wolenila cr Anny
Md Div. | O8sustew Weudin oA Wella CL Suny
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Tama Royuber, Wats f Zephyr OL
aul” vudyalndly and vy thes afaad cagsaly ,
Defendanks

L. Tuwsdichen a Vemme

 

I. Ths's a civil chon Gathooed by HZ USC Sechon 1463 do redray dhe dprosdain  wnllev
calor Ste low of cabs gee by Hue  Conshduben f vne Unilel Stal of mente »
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The court has jussdichen uwkir 2RUSC. Sechen 733i owh 1343 fa} (3) - Plansiff bs dedlaeton rena
purcuat J, 2@ USC, Sachem 2201 anh 1202 , Plaink » claim, fr injancdie reluf ae can Peaneed By Le asc.
Stubon 2283 anh 2284 and Rule 65 f Ye Choad Quly { Gat Procedure. .

1. The Novum Oidk of Flerka Lam cypropacde Von wnlus LE UC. — Sechon FS4'CHYD) ,
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of bp off Waly of We Hooks De patoment ¢ Coerechet or ginale .

TL, Plaw,£

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ben « Orgone ef Ve sale | Clenia wn Mu ealiody of She. Llonds Pepasdruneud f fowebkasy » Sheu
Corot, temfuad et Llosa Stale Prigon ” Re Lod \ Fienda .

TI, Delendenks

4. Mark S. Sah, defended, & the Seovedainy of He Clendn Depedniat of Coredins . We B
legals Kd ponte fev Wee overall epenuhin of Siu Department ; the sdk inde polrag, OS ede i ndhababien
under hs junc dudhin .

DS. Maerbus of tr Plena Viepubwant of Cowechiog Legeh Depadunct , defendanls j aioe ca fporhy ke thos wit.
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unde pebcin f Ye Dora epasmeat of Contecimd .

6. Member of Yar Glenda Peparbnent of CovreKnn Genk Brysiphora Revind Team. , oh efendinls ave
& poly Je Ys Gua, They are yall, raprrde Ly ontecrny peliey stale- inde Haat refer Speuh «ally do
dhe pluuwowk anh dreahuut of  “Tfamsgodey and Tbe inmebel Gury Ye enter Dlnda Wepodwutt of
Conreoes

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Florkn Peparwont of Comtedbions «

A. TT. Bowduy , Aefendent , wow of We Sewvelany 5 Detpnees 2» Thay Gee Ligelly rspontrhe far Vow
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Se Slonka Pepetimd of Cow edkow .

A. BL Hawk AeRndent We Ste Mele Brtky of, Wobulls Cowerhina Tat hse inp. Re
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cheuk dreakwuec Guken dung The couce of beat duhe .
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 3 of 41

IO FT Ca, defent, 4 Ye Whdun of Welulle Gorrechinol Tashbule sama, Adu legally
eipohlie fy Ye cprehon of Welle CE Annoy Cub Yee superviedy of ll sell empleged Maer , as
Gell ca Fev the intlbare of old jiwades hevad ck thet withbukey .

We Comrechond OP “Tamnur Agpenbanct Lu & cer echeved cthee cat Stonda Side Prteom . de
A legal, respenisiie. Ler vchow delin duny vt couse of ba Luks ota Cowtched ota of Me Sale of Perla
Depurmint of Cowerkow » Ad all diy weckond sm Yar Cermopidint he Wels we vel of Cowedend offsiw ene Ci) and

wet astgre jy, Florda Stale Prion .

2. Nwde Sawer | defendant a & Regarend Nuke cst Hooda Male Paden . § he w Legabhy ved ports Me Q
deluveniy medial Cave do aninadl ak Met “ws bdecbiin enh for adiey  delun Murs dhe Cooke of Ww Oukes .
3, GC. Espino; Adlon, y the Madital Oretdov of, Ponda Stele Yrton 6 “They Cove ‘ely

ce ponte Lov Gveseung alk wiitcad Caper prowiled at dha dhSukin , of well ak Hae Aecitins made
Wgewk — dreaknmlt Juten cliarmg She conde of Phew oluhit .

4. Adin Wadin Merete, ebindek, % cm Asscbon- Woden a Plaka Shale Prton . ‘They ave
legally reipengtie Ser ahead debtn Sucing dos conde of Hoty dubs , vucledng Ma ducing made on,
poe do grnevemu oe Wewkens Behera »

1S. Wasdin Palm, difendint, i dtu Warten of Flocha Stale Prion, Yeu Wjelly report
Sed We opteahin f Ponda Rbbe Pndew aud Hy supe ndion ef Qn steal] enapeyed Yer , as wil os
Sov He ivtlten of all vnmiky a rat inition »

iG. Sexgeaut “Tedd , Atfundeunt vu ch Cowedhonal Avie ot Wokula CE Auwey, Hew regelly
eb powible lor coho tahun dusiy Ye Combe of, Wd dinky as Cowedrowd OFhus of Hu Sate of Flonds
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i7. Chas Fakin ¢ OPa Morboul , efondont Ub the Oepadment Head of ClearGeubos aot (aleulhe

 

ce Aur . Ges Vagal, retsgondsble ov oveseorng ad Wowsneg and wy Os gnwanls Gud Vie endive
Hass. cabo depecboud of trod tughhbm, @& welt for dedi made dung He Comderf Hate dude .
18. aiden wath ous | Aebendont boa cowerhind tar at Walulle CL deme, Weu We lly
respoudy. Lev aekung  deliun daviny Jun couse of hag duh of o Cowtabund OPP oA Ye Shae “a Flenka
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aud ving abbigud Jo Wakola Cowrechone) Fadllole Atma +

a, Assistet edon Diy , Adfenuad » Fon Atédtbon Vaden ch Wolulle CL Aum . We
Lael ragoile Fer ceheet inlay dung The cote of Ws dibs) weludey Gu dilating sander a pak of
dre Gephbabronl Claaerbreabin Tama .

20. Cele Molez, Adfenbank , is Yow Colowh of Wobrlla CL Anny. Hes Uegalley vetponle
der Me ackour deen Chasing Ya Cote. of ha dubs oe Hw head ef, Setualy Coe Maat wd dy lidesy , of
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wells cap god f You Fesbrbhendl Cass Gicohin Peay, det Gor Ye Superwsion f oth Covectaned offucod
ogre ke Walla Covechad) Suahlule bur...

2 Stabe Chess; Seahin Oa Goulh , Aoferdenk, « Ha Gite Cletgdtechag OP adtignl over
Waluila cr Ayune ’ We u gral, resganaivle fe atehent dullun dew wy he Cernhe of (a Saher »
22. Howsd €. Tades TE, clefendewt, 4 tha cdlond ok ZopingAally CE. Hau Upally seigntdle

for all achog tolan Quanyy te comic yur eka on We Wad of Sealy Gv Shak veclibuben cr well of
gra Superivinn of all Cowechond offuas atogud bo Qepluplully Gower) Svebibte .

23. Temom opie, defadonk U Hu Woden of, Zepluprldly CL . Sheu legully veypoulle Soy
fe optehon of Peplagrlily Convedrond Tt bule Col we Supernein of all half Cmplyed Fett, of
well ot for Hae wellere of all (avast end cob Yoo tot bdeboy

24. Eodn deeniot Sued indi dolly avd ve Yoov offics) Capealy . Me all Jom
wontind m thy cormplamk tok, hefimdont aueh unde Yo lor of, Sdale law.

TW. fads

22). Plame LE , Rewpa, Te Keohane, cally on Pra Suk, thar Ine Florin Bepednent of
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Sa male. tntitubens Sdialiy bead upor dhe elena cyppuvaue of ey Guululin , Gn reptaleh maleacud
chofe by Sdalh pak Selay ypon thal plawueol,

Ae’ Dehibeale Tin delfeconee Joa Genes wehed Need oe Gempunad Q zedleg satus Sapey

26. Plordif , Reap Ts Kasam 1% o damtopucl Rule chagwotd tn Conky Oys phew
Cur eathy in Ae cosledy of Woe Clorda Deperbned ff Cor echos »

V7. The FUOC dawdy Yur Gender Dyephdia 4s a Senay wihied wu).

26. Plarutifl is canvendly pretend Hormone Replacemot Tharagy comb focal Svuneateon do beta
levy Gender Dye pons, » Sheu alte pronked ually countelng .

24 « Daxpie, Yee Srtalwuals , plennlef Conlawnl do Guffey? Bator Laapane val of bw obolily do

Fondion oma day to dey loote , due Jo Ye Severe déprieion dnd cuviely the be puta 6
a cil | de  dyi pune »

3a, SH all Oprbuecba pleliy) hay oaforined wonkel cua medica heel coe shall ek he
beliew nev hrembnenl inadeguale ; ag uk hee not allenakd Yow Sysnphowt ° ve cys wrdanng bel way
she SU eppenmel Stuere Aepretsin aah Carcibal Beakion on a Aéily Voees , Gt wel — od Sanus

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Cu ptanleon ab Yoo. Cmwtenk Shale of tree brody.

Sh. The Be pretginn hep heer neggrcse KR Pesa\uwl- Depreegue, Dngerkew &
$2. Plant) s  deprates thes be monn bulos % Yu Ca uw tee Conthual Coolaigs of Sidomesl

Gh vevulews ducle Yee sdele gf hur body. “Tha uo aby wort Wun fond lo 2a pram Shu playgeeal
Beagehoy of tree Iyedy , Suda od Whin vdeg ha dradberon , Sherweany » Aramgng Aetht, end go on~
33. The oVnw Cader & dhak Ine Cowvenk 5 dale of, ver bedy“y used of cu encase deo
hans , abuse p Geb digade Wer by oes. “The Fill obeuk of Wau whuug ave Aikeuled mde
Seckon Bf Was Compicivl .

SH. Plasbilf Wes \oeon Arafrett) tte Posi -Trawmahe. Chet Quodur duete Yute aowes .
35. Estella) medical Sdandands upd by dhe Avena Peydeicdi Mescuahos cud ots odele tra

Fest - “Trommake Sives ebordes Commo effedwcly (oe. dreakeh unld dee peheal- hit heer vemeved toon
dhe. Vanrptrent nT de ge. Juoks Safe aah lai reunnel Vee, Lor Lewe. Lake » AS ah woele
nathababring trawe penn Aioboasts eas vroinmonls je plenty ; Chev urelde ler Rewer Yas PTSD dreaded) while rowed

wo One ,
36 . Thy Comerld hicder of, iam bntadolate PSD, uv Catubeng Pieanbif ‘ omaha neal, oO

colt lantly Augradle. ove Jue anh Yar elwronk Yok poy dhe grrabut wc do hey healt, , ah
hiv tife , 08 ereny owt ef bay Suicide atlemgls hes mmedioddy Golloak an trenk Snubs base
wm naduve .

37, “Thee abudue eyverlf Come glob be Reb hep-eles , Us Prey \eusd. comsbeully otiuerd e- cay
jwbhdwdin Se Wot been heme ck) tnd Go lay of She cement rewad mn male Gah) Shee duets val
conbane Ser Wee Socdee le Verba 5 Ge Maw, Che bed a Gonna eer bac her tye became tk u fesilde On
cf Whee evens Cowl — Couge her feramnint vaglry or Bendy .

$8. Plnkl) Tras neon vaformsd by re Seamer PREA ( Pirin Rape Clrwinehon fet) lervdrsebor
Var Ye Pronka Pepobment of, Coreen ; me afficiad derby 05 ewilh of force bo Lace comuedadion ;
dat her plaguadt Comal. wy Ldubers banter toldy on Ye Oplenw appewame of leg geuibolia «
34, Ths Gonmer PREF Coordmalod, Kenden Brie, alte jabhid Heb anime Whe beth
ele and Seuncle Sty naw relent id , whe Woh ar ume cuvelopeh poms Yaak Y nem Panchord ; an
4 Slee, Camm Quali $0 he bewued Soe Reanale Fadally «

Ho, FNC Sealy  depormunt eades and Oppel lefinbad Hub rere wos ne wegen aK ven
Vevdwy Buda &  Ptibow w a uals Saceby ; Sy iMye bein pud hak Hee camaeunl of Violent:
Cid sootal bug Lemel nbbhehing “A gpunCheambly lerts Hear wre wth buons

Hl. Plamnlaf » Regn T, Keohene, medically ques bebe newly Samele Cubhehin
Pras Jo Yond piluy , amb hes quilfd Sor plewmul by a  deouke Giuliy cok WM Jmny Aegenbed
Sn Yad Lovaplaink « Shahar ban refused placeommb in ce Gale Leilily cond Raph tn make Gaachbis wsheod
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 6 of 41

42, FOC offictdr Wave, canned Yak henry Plarwhlf in 9 fBacle was debhen , letpile dhe.
imabid Sacks , Cotbed & Buraty nie due te che epdenel arprasemr of hee genitalia Leen )
Vaiy Cte reve cdiithd Yar Wneweny plerebill tm co vale webby alto puke War ak Ctoene vide oof
vile Od SOpnel abuse

HS. Tha Alanna enbeed cf Vow FD0C's orm walonny Plan iff dow we wend de he
bended wv Renshe (aly simply at Sle yu 5 She has repeedally Sietach Prat she regions Leena
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HY. Pawn) red vere bein evalnakd Cov Sbowal (Lenstgnvenh- Suny) var hes omy deberwinady
hen omade to “hy radical) neutiahy 2 Nets Weld, clk plauntilf’s ean neve deen Unauttveh
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4S, No welaced retion es tow heen slab Sor dre chenel of Seovol Reotnrgnreak Surgery Yoast
polerodal dasa of »

4h, Plann Wat cleo reymied eae be  cowbast Lor ber oun culkede yaulh eal Care walleye Army,
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Sov we padre ree pam) uo Cue ef >

47, Plow HW ahte Spoke le ome By. Zager | GAA, eralacrnchgile Conlaaled Nery Mu not deo
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4g Sn Novwyew 2014, Dy. Logos pertovally in borne) plernbf moe wale comferever cal

dha Se iscul} nani plennkalf eng ve feral iv Leynral Pecossrg mat Sewers od be Tbelaered ub ke be.
medacelly netiany 7, plendef'e Chor, »

4G ° bade Come Jame , Ov, Leis. oo uwrole G. prssorsp hon fer Oo Manag ~ paegh ashen cma.
fw G Sake - We - Kugpratank freduct , whade doe chlo Sdalid Wwe lodeted weer medrcally Widitkitny
50, P heunbal Spote bo Shown Lieyd, Yhe  aakal Health Due , of  Webulla Gb Amey ,

on Landes of Ue Gerdes yeflenn -exrluchan yrogmn , oleowk thke uy, aud dhe vofemral hou
Or. Legos » Ov. Legh etondily Stoked be plemby je wowld — Sayer Vee ytfens! cmd — red ew
wreda vol feted itor “f oe Sdulvs .

5), Dv Lloyd taker vafennd plan We cod) vob dnd the veferral se pleimblf rmeieal
reat) ov Whe copy {* We wpeifi. undid» whude ee Shake) dd bwe een sok bo Hoe becllhenne
prwdu's main ofits wm “Tallahaen » He 4 rrdoar plunlifl Yael the wulhia) rte Ind dhe new
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hw ethical pido Gees ah ives

52. Plarchlf hag no eaten ¥  belue Sra Dy. Zayos Wed leuk taro Vax refemel, ed peaal y
when dhe gaa apult of fhe eed) intve.  ptioked ad a Ov. Zeros hed Sind.

53. The FOC mambuig Wak OV. Zeyes made wo Sudr cefewal -
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SH. Part! greved Hue Leck of retponte Gollering Ihe refemrah Uneidlind » and iver dewed .

She cappeabd , aud was Bowed . Geta denials ffer ne pruluad croton ed be Me ena) « Thule ove the,
Orly grams Winkon ny Yar Complain pleanlif! curently hel cpus of (| Vadbud ot Eexlabh A), bat
all etes Slew he eaily Abbe Awnugh We chucowy Proudd .

SS. Ths  Aswrad perpelads Man cage of ne, ley Ar imamadrng Ve ome fur meted buy
thu plambl] s wudical eae, cn pestoval Lafely , Con be produl Por pas the £N0L adeuds
Grek] planmhlf remind  Soowal Readigyinnd Surgery Sra rool hae fe be atdigud Jo 0 Gels veglebon
Db. Plant]  Adderid Ye asl fo hor health aud lle duwlo He deme of Sess drtubmanh » ound
Priel — oll iypneinks bo the devia) aww preocenallly rdermed ond respeedle Sor Var Word Caused

by Aemagrng Vous cure Gor norwudicad reegous

57. Wichdle Souewie » To Wieden ST. Cokery and Ee Hand ave alt gnadons be Im demaly
rudd of Cyl A.

5&, Plata cho gree Jia owed of dudicaled —Inase - cemerch tamu. Planwbif u able , ecb
hub, lo prowde For thas Cave havself ty OO Pedr eleme vere, bok BOL prey pews
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of Hur Cone eon dow) we my fnweddta) Stal) so low os U nek eas cally Pra or

gue we panes Yank pegulle in Permanent haus remaval.

G. ‘A Patlenn of Abae duate her plaument - umsafe, cordubing cen Qua-
repealed inaluaors clowe buy Sfaff eued Seley apm Yhak plained

54. Th seghin “l Duanded cual, tant poss . Seehey \ dedeuloyy UM benspul cAnmenks , &
phger seal gr Served adouag , endl re the ley bunle med deeds f €NOC staf) url, hag Oy posed
plarndtef fo He nceedon hie indi of nos’ hetunan- / au athaal Lge qe Gecdem 2 esenhey Oba

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cu cenyay bles Beewde dead wk of nmades edtegped ho make vet Kdedhons ,

I, Undele. Comdlehons aud Unlenrfek frobors

60. Samet boeny wrewwnled Jo He Cudbody of Whe endo Depetomunt of Coveesbod on Toly 20i4 |
plamb) hel bear ented oldy an wale nc bebwhons

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she hag Yaw nomed ot bolt gry Io ond Selon hey vepresenphen off Hormone Reflucamtat Treecpy
tap Seegl  dvangulin we Sepheuber 21h avh fuga Lois reipecbualy
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62 « Tn chewlegal odie, plavhl) las hem wend ot Snr Suonda Reuphin Carter , Nedole CL,
Chaviole CL , Dade oL (ath a eae of cheek IOmenby be euktyle Cou), Evergadu ox
Sculty Bontn Reuphen Conky , Sellecen of ; Zephyr CL , Walken CL | Cenda Rese x,
Wallon CE, Wakutla CD Auer , ard Lleida Giele Pron.

63. hy hey Very Cae ews at Soult, Qeade Reeoghim Galev ' hearin sabake gO tat Beatin Covtehonal
Sergeant Slappa plank acne He Coe Lev no shaleh penton.

CH, While new iy BB domly cok Lub oaks Receplier Galery Gon inmate whete [oir neime
Pleawbal recat as ethungien ekbny ch pleauh aud leupled by Shea Shawped 2avelops Sern bev . Plarnteff
inferoad Shelf ond wis plead oy confeeread — peu prmlechue tnencge wea

6S. While hamden E denudey a SEQ , inmele “Weslengles ordered plank’ roommate bo
offerte hers "The vowmmode (yculed will che wed ot lap Gad but ew utr & doch Ud uct Soap),

CG, ArwaVate’ coommale iy the Game daymatoy Cemmncte) Veal and Lattonint pratler behing duvechd ob
her, Mom Grube ond  fenylr er when fhe boi hie bo Shep «

67 s Prog ha Yoouwwade i taavvedetely vpn. Seuyg plawlf 4 Heetabenes be Al ew wily & eealy, we
hah. contealid Wn ws popety , amb dd Chall her weg gow hp jal hew v We Wey wet eed on qf whe
room * /

jhe wet oved to a cleft coll.

63. Ay elole Ch Annwy , plewhif wohewd wm mM 0 onwsbevy lou. nawher | 204 Single.
“The thinele wo bunk. Y2ZO5 lover commild (ed aud Vescivlny ones hebeakny  gleechd cathe,

64. Buolld tuwule ot Delete CL fm, im MM dorarlery , who pleinhif recalls of eng reamed
Ben Ke, forepully sduule bet nad down plasnbill’s pak wie age on Sypnlbule Cannas «

To. Plaid} cbfempld —aubo- ov dneclony a Towmery 2015 Gk We Solo Ch fhanoe, amb woh demnsfewel
Jo Yee Gaye Celalradecy Unit ot Charlot C2 .

TN. Oury Var bee 2H Wows ab Chavtode CL, Yao Spemblur we plauhifs oh walbuhned aud
went eff on HK own ¢  plawhl) wat 2 badd freon He call cond plaud mo shower, where con ue liner
[atuden eon Slapped end — pamela hur ws the Vere , Seuy ig the les alia Wecame she seud che didu'! de
Creag be Yne gpanbler cad dada 't Peery whet Vneypened be Sb.

72. ine Wuweh'w © doratey (Yee CSU dorwilon ck Clradet CL) an ivimcte Whe
Gre es nau as * Pol wat® commbld (rd anh Lestinoy  Wtubeeloabion dared ok plewhf beth
by CInadiay on Your Side om bow Gall So be. Col Leche ide anh Cypete one] be pleanl] udutle che wed
wher cl, aud dow dhe Some then Gre comme ewbof Pre ell Lov Chewet aud preqvewy .

73, Phaswhyl) fol Cow exhumed Sduff dood Vie morale i bul weg Laren) oad eld outed cle ured ome
Canter Yar Was nag they iculd dy io Slop bean
74 Plawnbil mt drancfoved be Vae “Womitherd Cone Hei ot Onde Cf Ghurdly Waereafler che,

its Syontpy led ko Chuclotle Cohy Taal ptdng cubirde clays Sor Ye alligeh dea bwackin of Une Spina e” o
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I. Planbl) wwsa owed Nok Guully ct dal f yhe ¢ peukicr cMneay.’ dnd peluwed bo Bade CL,
T Dewwiley the Vnwtshond Care Unek

76 Thee che unmy placed imlo an SOS Cah ook Jdd Hed, beecate she Wak gow be tudes cand |
She hed bo go Mery the taboe prrgur ages From Ure Veweji Level 1 Atapile tre Gack Yoo che Wadd been
near by pelaae. ¥ genta pepulehon brefeee going lo cond.

TT. whe Ye Stk call, on inmake Asatte wos eed on Vas Sink, 7 Lamang led ond Legusing
(Mathebatun theuled oF her. Sle Spote bo Vow piychowwsur ahowk Yay ek wes doh Shane wes nodes
Jhuy toh do.

78. Wile io SS darmtoy , can Gumike th a protthaher leg feth pidiabif he wey going te

rape lar, cmb bod fel her YY She ud bo relat o  fordumaaly Hak inmate anil up leany fhe decviley
Vig sherty Yrenafle’ o

74, Pleanbelf wos yea fom “TCU, cud frmfored le Gueglady CE wm Dob
30. Pleandil) (ras Mote vm Wormtbory , waregy Hy celk ZU, onk oetgued tothe capper lownk. Sor Goce

dayl Plambif had re wommale Gnd wee bold che Urck ong Wouged clow Wyte Che wed demnggender, oo
db WO aeive dung Prohlans .

Si. PLeanudlf Wed oo ranmale » inwale Galtenn , Se dhost a month, offer Mash onl hed wo cases
uy hows Ue wes meed bo dnote clev, amd inmale Sever Dany wo, word whe Ye calf.
82, Day clemel Yo be o ge memo ch male cept sper aguy — ceammerls Ghd | Gpgude! *
Lor Loupe ome duenng be wes Stembing gual oubsule the call on Hee Wablemay , Wabbing Gx ides, Weer
te Pate ight-dady Shecty Geumd , anh Dany sed) Gved, Hog chenld (ill lf Hucte- Vegget

&3,, Plawdil) wes afr) off ew Bary inowlh cick Formnds uw bemg Srantgendar Une aahce Howe
he wer athgod by dee cell, and corded spending Coaty baat io Whe call the Ad not ane do p08 Cla wes otegued
be Cancakon 06 cn ile enh wank Fo many portrait Sha wes Vegely aie, do cach imberabing tly lin.
S4. One ing , Sor ny copporenk veeden , Garey pureladl plentay w dhe ola flew belay
Uanfrowtoh . Me Nal gad St coe Sor Sidon on bie staat be Wd Caused amie ab Hee aevanmed Tey dy
he frepaced conken ood »

KS. Plownbf) wes Sindy Cu Cotwaed int Oa juwile Newall Riche Prot at Vrad bme cmd
lho Wed proncorty Speen lo Darcy ds dy J Rae uy hexguond phe We hee erty Wo emwibeny aA

ting md planli Heh egn Language bo ath Wy ade (ot Gu Jib mh GR wank le repeak He

wept Leaded by report on Mtl “Pha Wal cressnredl Lily oy baer pater cerasking ss

gb. Po cugguled War che dey bo Survie Hevea the Rigid wal indent cod gpealt duccbAy
do Yu Wheogng Ger Geant We Wrong § plas) wo hak cy jamal, ws Yee don lewd her aw

Role Sie eh Befense, »

&7, Pla Uclad dou in Ye cdl dh Bony Lov Hoe wight Gad rN) wol- slap of ah due de Mw
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 10 of 41

Bear 7 ky Mme vad ne cepeek iatichnt » She rebum dee Weiile bel Game 'n Ye Momnang
SR, Plea wink dicdy sho Spek be Hae brewing Sergeant Poa paerning ; Gad Waray wes
mod lo & clafferen denmrteny » Ave in Osan) a Wis Pimede , male Veiagireisr | ond dad word
eve cong punt wily we -

gq. Arownd You Jame Racked Pralh eveme wiore  iehion, puting doe a”
felabonchyp , duh slelng Yat plawohl) was obligated do lam Sox bas help om gelhiy a gob cand uly
ol mindy 2 He Cugguieh Yaak “Yo She dd tok agrnte he wile Wig, Maye wee chur yninabes
who We dl hen toe wanted do Pee ov pe bie md ik wes only Sw. feat Vand ee

FAA ye, Wager diwndg ;

wat adtaned Le ee) with” her Yaak twat Shopping Yrewr .
0. Plasehff tet tnhindaled by Vos bet mere afvaad f Vow nae ef inched shangys Hoan a,

Dro , and Cyedly bem o whahen shi Lith bnoa ,

a. Thek ihahontluyp wy Proff voy  Prtdnealed by Seo cud alow wo Us nabeve Grn Vee
way began Ch bathed taal coved Apo! 2017 afk plainly wes Bentfeaed cond fore of ber tnPlaomees
42 Pratt coer plamhl) to qua hay Oval fey perhaps og tauny 06 10D ding , amb coma
See Hide by Rereide and Glakd ebbygabiont

43. Plat) cad Pratt acgual Keyweally , Leys econ plorck) wer unbupyy ond rebeabt of

the Poser he dpiveted Osey hey ; ouly uk tne, (oval: j while jOvaanbelf wes Vou w Gian Cul Hior , dad

Proll advalhy ude. alone Agar hav, boy chebieg bey, Beek he Reg yately wre cilbuering be an Chetdement
cMomk vide , albany dbouk pugle We Wad freght a Klld » Weapon, Cd Yooughts of Willny Pecyle whe
annoyed lawn , whady wag Waly every hedy «

a4, AE one poo, Qlaculel! wes grou a OR ( Decrphney Rept’) Sor vefusing be Gk a anew ;
Gurk— Senbde © dermiteny o White Hue, whan coming sub of hiv celle folie a Sheen, etn Wellton,

. e . x “ f 7 ¢ :
Cowell offre bee Elesanyoed Sau ctte he , (ath iwell of Vane. Alorauhesy . Cinedl fovrel gp huend) lew’ laced °
a 4 A ot

as af Plaanbiff wy Net out ef, Lom fyntmnal gad adtrgned iw € Avarbony CA 22S , om Va

Cyt luke) lath Hee roominerte. Uinenk Parmir.  Ad-~ bab ' Carer attend her Yrare Urenld bee,

KO Probleod -
Gf + “Thak wag , of ber Wale Coun , hts Hoy wwe Locked Chere ut daz cell cheng , Comer doede.

ca Vrije Row usages ind ables cmb Aguamdel Heal Elan, Lp vous beck hee or ha wold ghalls

he plat, lemy far Wer Vik) hd se,
a7. Plone yf , (eary for hav We ! Cols hot Sleep ef tA Wee rag be and tial \mincchedely be

Medial + we tke benny | che Aeclaceh 0 Pig cholegiied Femerqunsy Baad, csafed fe SPtade by Wer countelor,

gow Scomgle. Boule at
4, Plan lula

Brute Greg Years Vag cued , Gad alle Shoded Yaak “wos af rad Hn
beng find nach ba cemprveun eal ae rash heed | ov tkd Cow cegorhag

t
Me imtcdeab & Ganle
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be plauhff aed is wow aul Makshe wedd lnemelly il .
Tq, “Thad eu, ‘ Picanhff Wits wun back fe G her bog wang 4H ; plewhf ple heard
ureiiang eye cbouk Ma wedink om Sheff.

100 - Fr Mack Lory, Plawhlf woe dremifewed to Soult, Stomla Recuglin Conley my  Wamtch be
lov. Dapile he Gad oak pawl ed purposely brid her air off her eas and reek « i

okey bo Comey wily whe 2xid lent poly boy mdse inwabel } and ing hewreuk by Creed of oy beg
wits regulabios ng Shall ot Evergledy Cr, te Sheff at South Llonday Reughin Gale Atlued
her Veair ung wok in etgulidhon and onweh he do gebo Naw .

Jor, Plantlf Les plead nm — cowfinumunt Gor rehany % Geka haw ck.

wr. While im Confrerwak, poleahil's Wenmane wedi evhin very! lett’ clapile He Sea Hedibes
nad Jad Chaff tprety Whee Ue img, un bev profiely 3

jou, PlarnliY Vroryca Wussell cond had Jo ae cut down by Staff. Owe of Hacker effec Prrechel
rer in fie Soe and gen,” Taying bor REV youself, Foggok 2

los. Planch) ued jek on guicide clpeev in, Whore Che ure Che refed Wer meicabom ;

ecane of | leat eager works» By ng donee tha oth clonal) ivee inal ew nalealy WW), aud sie abewphed
be hang \eccelf Ciggewn >

Wwé . Plan wy Veen velued Gom qurude tty vahon and Sent hack bo Conpineinterk- |
Avipile Ya Sack Yrak cle hed not Spehen Jo cog Orydro pul and ay Cleady GAY guredel..
\o7- Whee Tbeny Yohem Vouk te E Cooley » other i. Sows plgercall, Laced piernbiff

whoo yao) chodeh , lata er Aga) Ye ell wit) Hae hale of cum Wi engin offer Gud chee
he need .

}08. B. Fons Jalafid ecm teouls, chabig Hoot pharnklf Chued leur cur heed, lac 4 impale
cy net bu weer Culfed Inelod rev beak © plamhy alto ders che would vue and hes inérer/
Shank Wow bead cind would pettus de Pron do tos

D4, Dicol'y) wen Sek Se — Recophon Weld Cader Wek Unk Gall poured Phant enor
a usertlind Gand plac C Doredory ° (Deerog Vik-hime She weg Pecewdened hy cans inmity Ave
were uniagen Veok Sher wns vtqunned de Shots alone try Count, beak the doom offred addeesed
he probe 5

Nos Boe tas wnvele, began to Seromably Warey Wer,  Uellng tu” re anded bo have ep oh hor,
Phavuley — yusomally wedrnuete) aur cand cy Cobos volo cucu’ tone With a Wail, ; anf She tues send
uf vor 5 bowk Tondled ar off? Lech he wor beunfowed Shel, Wasaap ier

Wh. Be Tells Ob, in Ap 211, ply wes aed me AL Dorwlony , wmcly
wed deerynkd a 85% f Orly Dooley , minder te | pride Sor be Spay’ -
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 12 of 41

WZ. Amnon, mw Vouk domishoy, Peal Chepoum, bwlyed Piawkl! got @ gt in gre Educhin
Olipornsc Shedly afler She Wed emmed ot Telledon OL.

ns. CAnagrvins Son Said plasuhlf was oblngakdd to bum , bub plank wntiled sie wer uel gemg
Wy, Dury om clog, @ Shudck legen bo commit Led ond lndeivog math baker agaial

plot , Gud Clapoon  Cveeclud Wry upeide tre treed, Uren deck bm, cade end RID big Wey Je

"5, The gh,  Aapmom Vetcame pushy dung a Courededion » aud heli plank dawn on
bs eek | beley bw uh aud guing Wer lege mdtey «

Nb, The nek mong » SMe) noted Ye beduy tnd plarchff Wid Shem  Cnapimun Ied leme
Ve» She we, heme, Soke, dade card) alerted uty Iwo ond he wihued Wu ko tule a

Gtedewaucl Seying Ur Wes Consent *  tnlemeud gepeatly plambil rou) new lave seid to , beet
She wes afiaad of whalm he veld do Yf Ghe atid bog tog Mev prodomee «

v7 negro wes waned So cued duo, bak he Conbud le pudwe ond lath pharubaff »

He wes alto vemmed Con Educchen,

Ng. Ove day, Chapman come be the den aml wet ich an by Ye denn ofr. He

way Mews Jo vemeiy un Yrer down Yee tale dag, tom embil Lele Yaad wash offer Mailer Cound
GiAeg he wes ghd carga to He chown

4. Tak will  plachif Wwuk to we Yar bellincn bef geoy be Sleep. Chega  Gollered
her, Conuad lreran Whe butlirrorn Shall, ond ova life Ber bw pow. He betd lamb]! Hab"

Y plane was iy Bor for her “fe ond ded =

\

Gre hd wok Yer Ber rah gee ox tw be woald Club he

120. Chapner Walss vemoved Yoack Jo Wr erwin Hhek wily ) bok combed be aMeaph Jo
Come le AL clecmilioy aud Va thacckon ‘uae , by wearing culade Yhe chenz halk aad chading urls 5
he Jrad le grab plank on Hu tami wallbeey , in Pamk of OY Cducakin cvdlerit

2b. Plainly Wa her Lupe der , Reber- Mars , Cher We King twblh Oneug wom, Gud he

Spehcle Msdiat Wartin Rolph ©  Clhepmon ives delim So Camfrnbinnk ; dnd ranges § harly
oli «

1272. Pandlf re dum Wy bee Counby Tab om an cyipak in ede Suly 2017 7 pled)
role Yak whh Sho wey Vee he amg hema on the Peele sede of We wredicad oh 1 8 Siugle
coh; God Yuk She (eit Safe ond  Comlrduhle 9 Hu a ebony She wes able te vse fhe Genes,
Sturmer up ovr Seoula two , Cad Commum cle willy Yrim From a dithane , aul wet wk
harm a Agieypected by Gay of Vom .

123. Pleanh) veduwd be Sellen CL after Vo cipal — yoeveeadyap f cherdly af towed
Sha wes hens lowed Se Leppingy lly x.
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 13 of 41

4 ivlale ot Ley Aull Cx plerntalf pee Per puably Waeasged oud Horew Lene) by CUA immede idneae-
Vide Cae chesg vot vetall i, She grepeted ae wrcidends ie
i25,

Sie ake had Cn nmale Comeup Grou lnebsd bur cng rk hat Wende one Ve iia O° fae
cepod Vd ined ag welll .

126. Dudey Ute off Fora medial. —egiacie er ( Youre ave Coed vn Sein 2) Serqemok
Whore name planckff Geog wok retell pulled sys pian] 6 Slat and orn wil) ng awd / Ven groped
hey leet P the  eporkea Yay yntahenk

(27.

Plane Ss saanrace of omg Lomch PREM prwalive Yuk ccmned dram tute. vepards
128.

Plamhyf 4 Varied of Crnasg Syviaah PReAd frocadune daa teamed: Seow reporting cmmnabes

P eames nk One vran

j24. Plainlif wer Sorgjeuved e Wallen CE On glaul my We Confeemh duretlog Hate
cuedo twvwing ab the Wthbiddn after cAeke(Giahes hed fk Lov Wee deny,

i30, Lie on ComPremmb , He cumude tr Hee calh denely abregs tre eel Iolo Lom he
Weed lo Ye Yuh of Wy cell amd Wogan te commit lated aah Letemou intey'r beckon iverkd ob ber»
iS). Plermlcf coved Hie invdow fo ber cell and  dued do bell combi weal Staff, bd wos
detally guard »

32. Olainbal ured” ready in & preunos vatulel Glebe clue lo uneslenls ak Zopiyglell Ce ’ Gad
chuvindy of qrtmantl Gheuk Meee radials ub ber wididd cae, Gul Yay tank Cone We Je
Pel Hane we ro bepe of tar Sturge male vnglrbohon She clempled cuiade bby  dedbiveg eect
AD dywl ( ove So, 002 vq) °

4 £ €, + 4 . ‘
(33. Plasalill Good shall on Waa wy caf She ad Seen dhe pate ¢ nd wes abun cul of
hay aM by hee Wee; Oak pub yo d& shoe wale iweabwg Por Hee nude 5
rs4.

Several iweby — vaade Viewing comarnwnls | Vale ,  dhew ws Gow Li? and eve,
GSending om Your ood Lockey nly Ye Ghurwer Jor Gin Splendid Jame F  plamabelf Cammark 8 codon
luk elaine Several if Hum Seo hae been Press babel Wake leche ob We eg Wa 4a Very Comme.

poh lear

135. Plannbelf Spa bo He nage, whe fend 0 Sglenel Ovid war not Senay plan amd
bid clfrcus do pw —plamhill bade wy hue ell. Placebos pup teach wy She wll.

IS6. Seer Verns lal, pled wer Umreepouue bucer math Corml 7 Gud wy myhed

be We Wespdal » Gy Maa dome cA Hie glare ad loton eto bud undo he Wheedidenin, cad cho

rtwnenned) ck Yaa hespilel Lor UH days for cinbdlile  dtubewwk ,

37. Pleambel wd, Thawed Ve Wahlen cL , lade Pan dram fouved de Neouben edin Ce frail
Shot Yrurfdr» She twos plea CSU.
V33 2 Stent, Heater, ww rc iodsen, JAR plemmdifl Yhak Whur se Wek de Me
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Shower he Wot going Jo imuurbale okile Locking ab hey. Pluck wntomed Shall, anh of Ye Gone,

Jou, detuned Hu combina eins amd (nerdinly dered go Rar tn Hak Complawile , en vequubded

prokechs Mmanageonut

3, Veter, She desended Yaa Meorg ‘Grobe wads (Qidhed Pook. Proth hed chided Prob ff
Planelal tae VE Wen he iventd aM hur , cuh he Pru the ciddew ond plow yudtbe of he

Parone -

40 . Mapa clio made Srailan Hrready, Sehiy Shak he minded be pub Wb on plambif
betawe she had refuel lo re uly buy.

ry. Plarndef tate se gousanen ae Loe Pivtedue Mamas amma anh wes Aenud y

i472. Plaswhlf Spee bo ae Voitdubned Clesschuahin Vea oat Conde Rete Ce fomun, cond.
wet damned c

43. Plewntil! wet atheeth fn CSU, ond Stok lo TOM clio oF Sanka Roda CL Aumay
she wes pleated Stor TOO and refed be Walken CL,

im. Play ves hod GC Oem at Weller OF - Gerivcl Populabion . Arbouk & rite

lobe She tt dvargfiwed bo (Waballe CL Anew, and placer N Bom, whi le ce WTA (Dugratlic
amd Srtabwent Unk) , ¢ Som of \ex yebnchie mental brtali dene.

WES Pleuhlf was bowed un Wing Z cell 20H 7 Wale im bray cath om inmale Weak past bey cdl
fo the shower, Gnd Chad We Cet Chow, Fecing buy Cell and Commmlley teed aud lotament
mas he bobns , Plembfl bold tre dow Sugéant cud wee weaved do unig i, GA yo3.

M6, Sowmtuah lade aan veieale woe wmowd tale Yuck wing Who tutte He debe Hae
dew room vind Logon do Committ eu and Lertmrey vntgdutrabion — Qucabd at thar, eetony ide bee
call, Plank Siwwlel cotta be cep aud \eeah au leagellon ae glett do tell Me offices

M7. The (rma gheded bo Heeler Plambyf aud ce bread avery Tern brave Greco
 Vroomshel mr can che audi be Ae pend Vneacelf before Hee offpeeck Gaw wed. The. Lev geaund
Coun Guvrwed amh Wid bot Ine tewile Gud plilyl bo shep el inte He hall.

Ng. Plaivkll ded Seggeant Common wha tad Vag » but be refaed edo anny Maing
Conk bch — red odd, He immile and play) bo go back wite Ha dong enh © dowth cane
WAL ding wate froblens é

hq. Plasmly Spoke do Adlerent Sevgtant We net day P che veutae) the Clinaerf carck
Saud Vy ier vacon cludoet _ awd oM che covlh do tes mae he inmate boo Adffercud ine 2 She
weed Ye immale, Gnd wade a reper abou Yhe vwludul «

iSO. Pracshl) repeatedly thal Yor wendel neal Sef omh Lonwilery Weaken Go retmort her bom
N hove Gud aftty abou a mol che wee wmoed hb K dlormbory :

Si, Plank tie wow) fom K de TS demlay alder eopddl, complaniy Vaal the was
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nebie Jo Shows i CK dom, beowse Hr Shomer hey ok a vie Wh well Onda yatble Pew
Mk turers cf Un lee Pavtom eu otter pads af We onmrdory .

52. Srdly afer being heweh im T droowitoy Ye tinmile brewed wy 3-212 teat fo Ure
Towed Crtveet brome Yhe co planhi) weg ty om bagan Jo Commth (leuk anh Leteinent method
ducedled ek he» Plarnhyf jd bin fe Shep call, ak bev wily ead fron Ye §eemugly vibety endlang
weil of Yous rele , Ad Vas che uel LS fae tel a Lock Yo be ter chad Sh again »

153, He Ad not doh aga.

154, Mey a Vw icone, deweged otha’ jute , bwnaly thet Vreugiut- dep Weokeultla Ce Annoy
Siam Cobh op Sv Qworginay Wettig » Owd Hue inmaly wea ensign lo plawmhfl'y cell .

1555 Pla if Wid Hae oninale, he wes wok ComtfeyboHe wally twey beoy vy dhe cell, and Hoey

wire whiz lo speak So Ye clenn S@egund-to Subd uy bath Guothar immale , a gay wwe Henan to
pieunh{] whe she wet ince corfarbble tty cmd Lect gure weal wot by do tnt rape hoy.

196. Fu etal 201K, alk rawaly Som SZ demidlny wert wereld bo PS dovmiloy | 2eupi
Sor & Sil vanloe » O dennbaff 's yoomwesde qua ined owe ef Woe duel weve) » aud che wed pwrusetely
dip) Oe tar reemmule , ‘wove Shean.

57. Trek Siewn idan fies ct gay, bonkas @ > Sep! ;vatanny Hee pety iy Yee aolow
PPtirkin Aung canal Soe, cond plarnhif Yell beam Sve way wot ceomfovleble, beng howd Mr ines . de
Cheek fo be woth de 6 differnt co, Vuk b was Suval days befor he wey moet, and
been a pork of combnkan te Ma clipe wlaive Planlif oid wot Geel comperlalle mn hak coll -

8, Unld Hoe day Slemey tet Med) Plambyf did nob loot dru vs drab cul encept ok
Matly Count oul Sev He wie cord) disney Hira agi Sit ines vnnla bo Sleep ah GM, Gud wot dake
Gam Leclidowe wll te cally Wee Oper Wy He monies , Sed Yan needy Me clay wall fuvute Slauner
Wid mort jf on doh Sine coulk vot dlp Gy cappronwably 72 hee dvelo Hoe Geer of eng bocbed
wy a won eH On pte Lhe Lagi aéfeult-hey «

1S4, Plcndl} bejembo Speak Ye OF. Legh Gh War bow , Cheuk Kaur wrdul aad be.
\60. Plommbif nag comeadorly reg pnsssea lo be Wewek oly Ly dendgtiadte/ yrly ilo ants

Pledowally Yrpim be trey y cml Ws wet Largely cupid cue CAlowed —weede che Weng BE eral
Cre Hump »

1b). les Sterween, hey ond dwothus drenigendyy Lule, Spee fo trelunbenach ovey Ye dona
es tig Sauk teak nk | Pilly ¢ be mod Gem a coll th ce Cugended male minnie Wht
She WS Uy Comlitelde -  Qhe wey rove bo pn 5 telhank Bot, wee able bo fel whe ank
Con lorbeldle lt, Wredk inecdrg Ck,

162 « Plasuhff endl up omg bo Combmeanth Tera DIC Yk ums damned ¢ ond whin She
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 16 of 41

Hhuwed oP donedery Shu ws astigud Jo a WW witha pein clu Ad not mow y She Spite do
Ie orm effiut oud wes infeed ond ya coll by heal] , PS Nb.

105 . bles lag ewido Hoa cell clone Lov grme dame can Uarltrrnn 5 cn gender male in made
wes rgd So Yaak Me Plembef called bev Samidy om Sere dubey , and tbe Yn Jo cal up Se
dhe in biadon mney

164. Thy did, ank @ Caplan ceume Je Speak wil bev Unde handing her dees alent Phe

Sudwehé , Yee tuphany Genidad Yee “vewale wl, a dventgendey Semele woede , Lord, whe plembff

wil Come clolle wih o

16S. Thre wordy | comfo/telde vel, ay used by plambiy in Wa cenlewk , mewn’ tag h afracd f .
ibb. Dwele Ye Sduckin of Yr cell, PSL, wud ral culo He adydanh dormbory 5

Qo down, net Weed Severn Long- Lam enbal Weed a pabids j plambif regurtd le he moved de

0 duffanat Wty ot Woe wine Fao CL domm eau Je de cll PIG wd dome call ge daaelly
Je dee folk oven. She twos vued Jo PSZOT,

bi. wn. Jams Lo , We hud of cheapidrigdin , Meg Menke » orden aM nena wlth
Low landing lens excoph Rey a Sttutr Sav lobe moved lo K dona .  Clamnhi potaed jrmrudaabe y
dhe Condshans m dower nak wot Meme) bein they ae Wed Dougal ‘Ue before, i “f ny Nam,
Dey bad getln wort »

Ib% » “The condhbey had Gollun wore, ” plenalalf ss hyde, heceaye af tn Uren See Wed Cavewt a
Cepawding oc. cheae Pred s That Raend hed been hewedes Ke done cad quate lo Choe ov ude dre
bition, Wally Gy rivary » wh hak bein Vreunsted ry cuginlas wale mvc »

164. Btw vw, plombl/ had wo toommale , ond atta an olfov cepalle of deny moves ,

mon

Weg. Aeon, “Yo she Gol woe He ynmale » Evi) fo he cum tell lo geb hw cub of Kaloo.
IMs Horton Said Haak Hue celemmel, caah — Maaoak hu Wid of clekiralhen , Wad cpeuly cally Geroalbin Se
im male bo nt mock %

yo .. Nuwmole Grew 2adid ys tng aNeadte) by aug ws m ample uals & ewufe aud) bly Gf he Vast’
Ws She Wve lack Jo P dor, thur she Wak bein Wevgd pare Jo beng mond to K den.
ryt pen boomy wah yo Ko dom ,  dnothn bead gene cmmende , Welle, ee ted heen moved <a

dhe Stame dine 5 aed pu wold o» Bae Gane Lone wa oapanal peten deal, ng hd a dew if platy ,
Cuadin Gout of Pre pfiae Shahan - “That invele , Wel, tree dele, Vrach Jo P dem .

jt» Phaibll yworetdy cely begin Le probest- wi Lartay  Wemnoe/ She coll » Hak ghe A nob Cot
Fale os Ke anew e
73. Plowkd Spebe Aacerly be Mex. Marhonal «thee gud," Yees vo PREA w Beurfy

prbum we, nevtery yew K chen “ Gerd véfraed de eotee plenntaff oe
174, Mw Several dhenys ) Curl — nmote 7 Ghee Greusgindur , agpproudhed Plenlif ch ated
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he sie Ua her. Thy jmmale hak bebo Plamly iy dhe pak, Od Piandyf Seed She wet ned
CompoAahie ws,  dhast

175. The jumale Bend well | yor con't Jee phn Scan anh can! Shoes | untty am cobdude, ;
cnk Ye Sedewiel mele plash|! Conend wont vhuk tay ivold do.

(76, Whan plant wos prepeny 4 tulle © Shewir, somine fold ku’ Yok dhe other wwmabe ald ate
were gens Jo gui gor Shure amytery  Planallf dd ao unde bol msieud elk Yhe oubroom , awk the
oth invade wk whe uu, a Yes had gad

(TT. Plavabil ureat amd rongedon ag fla Cnr 191d Ye ofl iy the becth, Tong be call Wo.
Caplio ltlaye Ga wawteh bo erped a PREM mada. Offa Tot Siud She wrad werk call crsyone
awk ibn) cae wha hagpined

78, Plamh Conbonid te oder muele, anda yh ipa ook” Staal cohu/ mmalss hed do
Sepeme  Pliwk) dad Hae ober mde. OReas Tons walded He endet Rghk anh debi come cnt
te Glog Ur ov cal canyon. combed he wed over

174, BE Hak pe Plarbsf) sent oud Jeld CfPiw Temes Je go on call dhe Cagle nght amet 0
A Vedlewel Gauge anti ad bed wimady debendo maid de be eerdeated . -
\So. The mon day, dhe Attica wladin 0 vtwede Mewchenil's ordus aud mock pleut lf loach dey
¢ dons , thane gre wy ald le cher Sep erally .

IKI. Da Foe iny ZO , ame Ken Peledim clele & Pew ef head pros rte. Precolff.
Ther, Old Wo be q menbr of He ‘Oueasr gong.

(82. Plémh) contented We feder’r on ololgn imawu by  adling than Jo” Rep an ap oud
Liv Whe feo he head pans) ) card Shon Showed Feber Pena , berrend Seo decdtuy rmoaake. «
(£3. Pekedor Je Seeuaby owt He Kole, cud dawg a vault Star, Ue es Gand mn oo puller

arn w the wr plamdedf Shae wl, a tommeale , by Hae Same OFA! Sone. Pleundif wes lake
Jo Confrtinnt cud lauds a CoA by heself .

194, The Seberang day ; penal wos vafomed by Seqeumb “Tedd thot She wes beng wrod de
Aullerat- cathy by onder of We colon .

1X5, ‘The (clo a Pe die wee Colo Ad,

iK6. “That Your coll hovel olncle “Tremaine Halk ¢ @A plambll reload Sagean Tedd the du

nde Sah ceebrbabde gyorg whe Yk cll. See dale Yuk du hes PTSD Gad wegen Gear dv er \de ;

Gud aly dedend o (ey clerlegied Cunlaginesy «

VSP. She pete le a coumgdor cuk eyppeend dhe gue, Coad cud Che wei Contos \pecente

She bed @ledered Wal while te weg Renged ‘ey P dene , cod he Sheed Inod be vere nol tramigedlery
cud Shsst the had only Saped up of — vawtgeudy dy Oheye Mae bebe’

1$3 - She EM Yee commtilo’ Gee wey Bee Uae ber tle gong mde The call oy momale all ;
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cmd allio afeod Hut dot Yo bur PTSD, he could meh prdith ford dhe troald ak Y a herder
Gens, She catedto be placed tm an SH0o cold berm Yoo wel & ctatonalte chane she weds hee
hecel{ ov muale Hal -

IS}. The comiclor refurd Jo plat ples on SHO, espile the eek Pook ght tbeded hire wind airy
iorted — Yrotak cle beg Ve) baeel) cr Germ 2h, He sed 2 oni duh geab thee for 0 fin dogs j
Youn get cud» ook inheh YP Pty pod you we Whe Some coll?
(qo, Plandsl)  Gend che tuk ther roman on SHOs “Yo Heb wes dhe caus.

aye Tre = counler Sad, ° See, Dp rob gomna do cl shat Paperwork "gwd Shen lod Sregeenit
Todd that plan] wits Clea anh cad be seat bee Iotte call .
142. As Yous pont plawblf begged Seqank Toad vot So pub her im the cath vt, Hell. Sepseand

Tod Goud , * You've gown gos That oth, ov Tier Goma oun a dean andl pul yon Hk olf”

1a3, Plawlf glo hat  Stotre PTSD dren ue of Goa wmecdeals — eserviond iy Sache 2, cond vas
werd sbuale Welw bay Lev of Hal ond of — Seegyamt Todd She remoed he Wewbinlly while my re
Wedding cad , ugh in Sent of Lergeame Coad, boyy le Cele) bbeuwy Sb wal Veen ON wm
we of Core hb turd alles He offeey Jer open Ine dow bo the Vnahdhnng cell mde Bei odlirg ey de
Sulowak be repeat .

194 Sergeant TDD Cune Over sin athe “Yo He may office had ame to gebihe curs Plamliyf jut
Shumgye and feud a Wod , bub he tuabled Caw Sha. pwd We band call in he Propely .

45, Plambilf wos belen gut f We ingle cai So Spoke Jo Lieubeumt Oe, He sad Hhoe att] wap
othe Call planbil coll be brewed in

146. Plawh ll Gai) Hig es bladandty flee, as the. cruld be weed bode to Fle cath che hed been ier )
by herself, avd owing glk Vhege. proklece! »

197. Lb, OU send ne bob spelen do Ms, oho ull che refoud ee pluck) be moed

beck Le tee pow cok, becuge ae Lavy tb wal oP Cow dene) Chae Wereagemeat (va veadet ind ttt Mictbeve,

é a,
a Boroly wile ..

14g. Peel Sad Vhoe wes Bo Grenden Leeinly netic i“ hewn Pub Grote renal Hal, iue Lb Oly
Sioagiy Aad,” Ave You gory bo The won ox do we Wine de Hehe yon Hee”

199, Contidaniy he. perked oth bem YH vet Hae Covtem va fom Shiff f cw rete j
plan) went le tre all.

Loo | Plein) welewl) lo Satie bo dae Caplin om wight sll, hy dehy Ure hemdenlls de Ihe
Shyrvis ond vty hem af leverage be Gtk weed out of He ell wlth Hell,

LOl, Wefere Yaak cow Iregean, wrnale Hall gob Wg Oa SywMehi Cemmang aut begeur

Je Cometh Wed omk Natemnt rahlrekin ageamti plauub/f ,
202 - Plamhff Seed Lov her Vile Gd chek Held ent, Yre Wendenfly - wf delow, Che
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 19 of 41

suabuved Lleioy wytny whe defending bell Som Hall -
203, Plawwhlf anh Mad wire dehin cut of We Gill cin swberained by ied] clink he veudenl Holl
hadJdd — plarakif Fo JA) dhun “Tedd bud given ter he budeully ck He Dow Jo the why cok Yaad Tele
ak “odind oo WE on Wall be cid he tweed pein} of gle ded nol ell ghef Yaad ,
OH, Plan Sali sdef L wer CREA imerdew’ cin Che bed bean tg fee Be Inu We? She wes
didbed thor sve god Ye Wwnhenle and  seud Sergeant “Todd gave Yon So kev.
205. Paws} ond Hell were een by vrudical , comb pucdury wee Solon ef Wem yuri e
206, AE By Joon | Me Copia, Me Kenny ud bo plarulel Yow Chol Vaeve vite’ bein pol tn
Shak ch" hfe Aus, plarnhlf cons plod in cath ny Irene om tng TS, ay the Clete Mamegemeasf
immalds »
207, Pharell) vomeined ben om ung SS, Aaipile Ha alllged ‘seanly rly’ (my a cad by a
208. Plank Y) wes sderved de nev envoy By Colon obs, cnk LD eng Qeteing Pre
Cetus Wy the Cetnt § cord, af Hall wey im loge arund, She weluntind Ue uth aheuk hey ond-
Whey te nad ggottan Yee Irendewlls, & well of Selling Colel Nla tuck elk bok dew bo Sey dh
Sree had Bud chrout — Segeawk Tadd

204 ° Caplan itil und ctl pretach . Plandaif iol boty of Ve ty Peden dhal wall bed been,
Goong her , Samy Sor few Gu  \egernsed imadbus bedron oud Uhek dhe Wk benin Geo Le he We .
LO , Pi eundal) wes alin Ho nits Le te tneduel and vepenveh bw Choke Managemen fo the

NR 6 wee dev Déjgroaradea Reber , “Teepnng ity ewily Pewee , P odsesiney de Waepm, Cuh Ligiding
Sho rind de 2 @ Cte Ser Ye Berreated Werlery ub Tampeng wy cae Sewahe, ewe Gam Were deve d guy
nn Only af [lor ohreaday Inany Youn) g gusty uf 2 Whe wee Yee ety 2 Sena) } boy Segeaut

Venmbudlis Plarnhlf porvle onk Yaak | f petesron fw LD eeepon amd Leasing ‘never lgehle jeepordy )
Oh Ine 02 he had Mehl irwdly eeu deus} gue ly of, - br andes Baller; ‘ \ Condanned ad Witceke tie)
Phemals A (pakey ous, portdeteng A Weapon y

V2. Vem sudh agreed Wot Yau iw) va prope aw) dad pok Stave ov musk gale pe OR.
213, Seven) daw eke, Yiwu pthunel Le seme cd uy angele Mee fore Oe le del
Plesk f° Penheut fold wwe do fore Hum onayrnery! =

BN Be dhe Jue nme Yall wer Conprecawend Ub ms te Fgh OF, ud he

Zpphean) 30 Paull» “The eval wine Hook he Cad aucillay rmmaly , Monty gobin a Syke vw
dhe cheng iow of TH docu ° .
2S , Ta Hd Syd, Mom lovoke a. brome gull Stolle vamde Held uth “Ue, Cavusiug
More Yeve-e “imguly Hour  Sluse gegulbenh Lary plant ff 5 Ths ced on camerd »

2b . Brealey 2 Vovomn Cmghbull — Wegimcdion of Shole Property -

217. The ban bremnchile colby Posteo of a Weapon .
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2g. Gieldnvy aimee Ball wth the trun boeonsick caahbels Agyrovebes Baber.
214 , re Mercy wig ng iia llen Choy DE cA Venn, Kpuasy Mer Urypt hey honed. On

rufewal for hese. Managem by Ve dlescirplon of Reems inmale © Menay ies Cheadle Hh Aigtn”
m 4he mudent Gul snewl Wane tery hath Jo Hw Same, Chepree. | punch wrbinde ‘ 6 Gvealer , than
punkd) wa, J Li hdeally lay Aengs before conven bling Rgqvavalich ‘obey on the Seek Gram cnveale
ican wath dewtied | corel Wy AGgeerale dabliey éeggougl- »

wo, Sevenl days ledw, Canali aepland AM Yr owl bo Or. Cloyd. He Glekd dhe me PLEA
imarithag adios nad been ben. he subonied the nohe ef ob -

Wi. Carpio th , the Sead Same feton ples] Wk IAD chook the P REA inated » Come by dele
plirwnbd] ¢ Sladum ent y daggile Yu deck thet alk adn chelemeads Cottam) Yee PREA  alligakon ,

V2. Ciphain Wie vebumd ca Wake dale, and adhd plan ter Gudber shadeoek, Selig
Youd Some preven Shabemals ed reer lest.

qn, DA veT Ry the One Wromgemat vefewoh  plavki wid dab Ye efeaal rly che

Cider se) fo alk of We ORs and ly lube Hall § bul, tt dod wot hele Yok She wom Be’
bor hwy We j and Goldy foes ed Cf the Dtgaprthi” We Pook vo pw He. Ceae

24. Ad HLT, Marchant wale a woke of, plamkiy PREA allegahoy and append Jo be
wnewie f Hur

225. Lrtubient OUL verubgaled te PREA and Gault te Pode grevane Pla woke, dpe
beady party be Ub; padicdedly we God we iu Cath Tol lung placed in He cat witty Hal.

V2, Pecnkl) append Wes oD wes camel » She opel te to the — Seevedery's OfPiz. cuad wet
227, Plamrbif war peu on Clete Mangenen 1) whic “yf Splald  Sebdery Confureacink - nats

Jo Vay nadine , Gok apple re deedon bo he Gey 5 OFRa , deserbing all fhe. Vegnes Lad
Pre Coiahon, Gu) the roti, Wregpeh eatnucl compen be mingle — Mowy e The win rewed
reaggl Car | bv wipe bo, Seat graveunt tmwh \yelntnef “UL tod wehenholly Ae hoyed «

QS . Plain ‘beluees hot ; geen He fodebily of The prudent ve wed wk Crdy nag n goal oud
Qulenly yahoos Adkox on the pact of Celeal Nola anh Mechant Vouk pula ke enger® Yasn
five er Yat heacinat potirhie porally tov opandeng eel Crean Ve, Sivaden day fide Ww Sey

424, Plamlaf peconally owetend — Mahal male het Perogang Coweta cdsoust antgender
Seale sonal; Gleby’ ey Sat wee be eal Woman’ cel Shae coe no Cela madd ob Voog
‘thdedainm Gnd Lp ve sh tam cind Combe housed wat watrn.  Merhont did rok nko
We comnts — cloak pheruihll — peafically ~Yf Sine Weed) » pawl would bane repedeh hes fir Stowal Wvettnnah,
L340, Ue brreg plac in om i, lent wes rentfond be Sherk Shede Pra ,

231. While ot Alardy Dale Pride Mouth on Deming coll V90i , pla) ves sCeduld Ly
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 21 of 41

a malice) calW ud i wal Sepitalne ; Bina her Worm weds coubecey -

132 . OR Tawny adich plank YJ gle wmbd lo gedo buy call-uh, aad che seud yes

233, Tames rehomed Seren Wows lake toby G& true Whote Kame plumb) ives dold Taned ;
Gud cgeed , ” Do Yow Wout }s egy you efucal? ”

234 , Plank Sdekd clu trad wed vepwed) Gud Haar She mudd te gedo Wer tall- cut. She deslerd

Ch nigel ersargerrey » “Peas Oud Jered. Gated Ver can Veale eave

235,

Plomkif Added o wadriel Emeginey Jo Yar deo larbinonf . cued he call wedaia) 5 ba elemedd
cd WB ley Yea call out had been regcreduldd oud ghe aarell de web wl ve Came up Gpftan «

236. Six Ocheb , Ya Callan! was Gehuiluled cigain ~ apie Hud he hed weer Theor ousdypad
Jo ta donating bowed in od dhe drow 1 clon , offs Carms Agen Chere) up why add
Saved » They ne even cu led pleankel wad lo ge be bey aill- owk, gue cuted "Qe gon sul do
Sipe Your refpted

137. Flasbfl Spoez jo He duce of icing ecroud Vues problen, Ch Mk ted cay baw “ he whe
She oehuged \uv calt- ent _ oun wn lw Ue could “ her helt , and) yaaa washing ede whl
238 ° San Novewke, i (7 Pecw “Varn! cond ede Jarred Gefen Cuppaoreh, i cong Chgpeciny og hed }

” De Yor wank Jo &y ‘ repsal 2” ° ke ae fe amid be abeap Pas Gll-ow a
Ye ye {your /
a , iv wtperreed hey ob wey om Hat dey s

234, Shey ale Yu , on of larch} « prescnboed ined cobviy Madr pogdicow , Lud
hedtom tenn) La, wD (eng Gfieey Oud ko 2p laumbeon »
BMD, P bank vs (uot aby grein leet, Whe td of, “Tawney ok Cawod "¢ daw) of

heer neatly cave cank —Cadespcahen of documents, anh Yor ddcomhanehin of wedually wneestseny
medreehinn op

eH Plavak]] Cts Yeoh, Y cll Wee tren che bes fulleed due Jo Combrvad flacintnd oy
Uedale. Combahains » rd dened ef, ead Came» Gar Carll ahovge  Vrem inwaly and sheff, dea net
Come —  pablean a Ving oly »

Qa. Gren Woe. mou of ‘yaudends ond grovones bind Yhe Wow Geni Was" Selfened, Ub 6
Wol  reedmalde be Suggs = Yaak Oy Sdade offical rekpowirhle for plaung Glenchl m & wake
4 bebo ; Bi ed grevomay ogard placemat oy a Cemmuale — washadechery ( “99 he gyrecens
a beat Poles vrungtwend 5 dud Aenrg ay Guevames Cyt Bad Vteelrly of Seon Racsggumsul
Suey | Gre tmenwive of the Wann thew chewy detebly Sppees he to.

Z. (Mahan Mowe hy Stall

Zu5. Creat For Cortenin wwiney predunls shan plea Ps euloreh L00C Custody , enh Lots
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 22 of 41

wot cLabifid os ramiyader, —pleaniilf wos ab ald dus behwn Tully LOA od Fully LOOT Sarbyeded
Jo trad ue colleguidlly yefemd Jo ag | Spit gtavehas -

DOA, They teat hak, bohun ong Shep Stachel» pldnhl Ss upper body twos geanbid by = eonale.
e(hav , Gud \ewts beak, by a wale affia -

BAS. Vadlay Is alongs etn Sov’ panhl/ be be pat geacboh by emule effaced oly. She hes
been usw) — Spewally wade * pastes’ be any der ilom Skil of ub dhy many Sou.

16. Tre vadendle Lov Wis “y shot, locum plawhl ny boris, ib 4 2 PREE rolhen
Loy mde Shull do tend, 0 view er reals She dame ag Ub 4 dev than do do de my tamale
chsgu) af Rrmele .

J47. Voxpunion 4 a Som off Seow abou cefred by Celta comk Shake PREF shendacke,
Zug, Tr Corn Tannery LOR ,  wrembes off dre Sloc's \ bagel depadwent’ changes Hou

Pokey au began to isu Ya plank hed Jo he Ship Seanlel by mele flies only md 1 vegprced
Jo Grow Yun rer breads ,

Zu4. Plank uu ciaotee of we rtodon Lor Hos cheng Jo a wert behead arate, fel .
250, Pla] has vel heer alle. be speak Yo Yay” Legal Aipadwot , , her hes whe been chic -be
oh jam names f cay — des ves ponetfe Saw Ung Areata

2S). Pla Sak became coon of Hos wf Vawan 2018, ot Lepley ull CL hin she

wés called Pron ke teeck adhgn watnk — hee ge do Gu odedy wedn cal deder. She twat taboo, Seated

whin Yh Mager : int yon 2oplenwhon ' del) bow Shey woul net Leb he go lo bw Callan unkown che
i i * 4 . ~ "

3 Wop OY male offices Ghevug dhunn tae’ loreesly ,

f
292. Plank vefad, and called PREA on Ye Pager » He wele wa DE ond cla ims
jokin ty Covrocnind dundt pracel mn a hoes p vised. lke a heldong ced}
253. ihen evdied) bo Shep cml thew hey breeds be inele offices, plamhl! ieleed and prs

Pepper Spray - “Thows ha wey a dhe Shoutr, Sdeff umeh) cf Ye Wwalu de God hee be chesun otf dhe
Reape” Spray tab! she  Shewd Hatin her boreasty .

254. “Thhestnug You cin \Gelabed sailed { aooie, Sor hush Shu vont) be Lully vdcaled by dhe
vdeo Radswce ,  flainhl/ Complud > glo wat clined bo Show’ Veen plaud oy a cell.

255 . Pern Guend das as a PREA wudad y Oop wes dom). The tweidlen) Tamera
Poynter, 3pche bo us peetenally cn) vferned baw Hout the Legal dea’ had chang Hoe poly «
256. Ths Speci, poly nok parton eagle ig dhe Shonda Adis alec, Corb Vaal prov ty
court fy) bak, ratios img tha’ Spe tanh’ poluy 0

257. Werden Poyuly stall Toad We’ Legal enn’ bal La ber Hog iwts breed on ¢ henge

i

m Cate Naas | Gud) Yuk she coh Veer Chel ue you Felling dvcled
258, Plewhf 4 unewie of amy Sue tailor on Ye ube, onl bes bem able vind no
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eve) Whaleerad of Gary Vad come ond oo She Sale of Geadg , dre im Coteul po Bom Me
Sugromt Cowk m toe pened 4 dei7- Z0ig.

254 . Plasulif ‘3 Oppel ool You Medlenf- veg clued » Nhe wrole aa) “eeu qreueest cbse”
des, cud gpdee do can amg pectinw Givted » \eak 110 Haag Lut/ Cosme of b
266, Plank ff wm fond poojcbrciegral ed] Hawk he tan Suede ws Lady LOS , Seller Yuu

wide cud wad en ty cm SHS all ny dng So, Sdolf ak Zeghgpe bull CR ogi cuted rod

i

She Wad le ee ghey Heures by Wale effras , Gu Cl Hum her brrcagile .

261. Plast vepud , and Soret wat ied agen Hou me Je cak off ber etl Ulde She

wir Wd dom by wale offre .

262. Sera of Yoo offic (aber spot Yes bes cou Ha wecident ond cbuygerled Thad SP ade Yarn wtecnkedalle
uk fay wie frend of leany Yes gars VY Hay Spel cub o” duchoyid + PMaouhll belt ore wey named
Weel .

263. Planlif pce bo te Colow! of Hoe wilelden , Houred 6. Vober WS, chewk dine jeu .
Cobol “Vadb shed Sa hut Yak he wees’ ruse Gollamy ada” | bub aldo Sond tha he remedied.
pith Row De Lolo OF mm D0iW) whin We wes | plemhil boehow , a mayor Hhoe
264. CArowek “Winghes Shedeh drat be steal Wak Shp ters of fle) wee Mere ty She.’ 5 pled
Sawin’ walt ~ whur be wee gh fe Soto CL y od who shaked Yat Yay Wad been Bone Yad trey
Sic Groutgindiy yaad Qe Seread yeet Tree. Hud .

265 - — Plank really tat she wes Subyeted be cue other Sud ude of Sone a Depheytily Cr Ate
howd on Yee wentel Wealthy down Yue ,

LEE. then flambaff was dvamiewel to Woon CL » Claw Wieder Came bo Wey cold andl aabed of
‘Ue rout be hang he comdukh He Shop Barc reaped do deja how Pedoralley , Gal citrine)
hur he hd rot mem Sor Lb Jo be durypedfil.

167. Pheunlf comphid Grd eas dainufewe lo Wallon C2 Upon eurmiy ab ilallm ob , che
bust lined by Yaer wren ov edb tamedin Yue hak Yoer — Lagal down’ heb Speapieally cella.
Ghyji Gnd whackd Jha wok do de * Split Stonbed but bo he cry mele offs 9 dap Stay
hey - "

164. Qa ct Wolke OL atunk liv They ded wot mem. Cort Jo be abopne av duepedpA ;

Gin offered So peek Whe offted PrFeoutny Ure Stale in rdw by Ga Vest tute Pade obhing

lle inrlowerl Gaurd «  Plarndif cowipled . |
264. “Thus deiadfus ad geste plewhy) Some bepe Yat She |) new pokey would net be Rae em

fore ck her ed rth ded) bat He Gack th Ye Lagat Kem’ Cem by be Speafically
Bogen Gud epeleds. Ths wat the Picdor tak comed tee pueden mm  Conbmemend bo maha her
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alltonpi Succide

270 . Plewniff wed vot Shap Seabud omy bo Hee Wespiad, She was, por webu bo Weldon CH j when
pisud oy an SHOS cell, bak dhe lft dad ret grey bude dahe off buy bora, Gad lok her Corer up edt
dhe Gos ~~ dinwh — Sead Woefine Wendieng “Ub ver.

27 Pracwlll wes cheangfeared de Landa Leer C2 drwy to The Chir conn Yue? preity Ie Lariay Wallen,
She wes Shep Gtaulud , oud dhe effiter Veh heer Corer her loweedly hun Gabig off the Shel, thin pak har
bra on bah,

272, Phoonk) doer sob realli beng Slip Sethe) thue she Qari ot Santa Rote CL Aunty} havgh
She war vequued Jo give dvev all clodhy recente she weson SHOS Ye olfecer gewe bw Ye Shen) fall
vd dhe wer abie by pub “bt om e

293, Vlnle ak Sanda Rese CE Armoe, — plaintilf wes sudowad Shak, wecante she wet belay ened in a
devin Gy CWA minady , She Wid fo be ship Seon eyicy Sime Soa Come uk of te ail . Thy imdbudel
Je butt Jo wondel beat Sell cheat He deuma of beay Shop started by mele officers Ha had.
dhru aw bo Cll Smale ter te Gah place

274, Plecmdiff sefucd Le come out of Vw cll Lv sy season, on) dedeod & fumger Shue , Lhe Jd
trtnlid ealth, when Slay Gung be ther Ca, why Sle eefucc fo tome ouk- became ely tulppeled
bo chu to oly le Guu pealeh realty carey dll - dopectny «
278 . She alto hel the Worden come ou spade lo uw Pedomrall,, and plad de he ke cow
cut awh Spratt le the MOST ( Math Bacplnog Lemus Teeun) 30 she Cou) gt of f
Stes 2 She Speak caer 96 Boys on LU0S ad did ek eat Ger ove ten,

276, The worden wnt tollng Jo speck Wilh her Onead Ye poly cherye, Glory be feud hee
itt goal Cobley aden» We. ghaked Phot Ye * begud Team Wed Called in Adwumee diag inlhered
lune of Ve Rend Peleg .

Z77, Ne alto Stated to pleh ff Yaok Hu “Legel Vea! had Jolt bs the teaton Sy
Woe change wos a vulig in Plenwhif © cou, Plarabi) said Jad Aadn'l wake seme Wyecmnde bay
Véwdul ages te C066 ( Kechane v. Jone HEM ey -Opsil-Mul-CAS) had ingteng ds do
wah dhuk Subjec «

17 Pray hab cc leh all vate Wer clergy Sn Had cou, Daniel Tilley) Ook ewes doth she
hid Jo ve Sdup Searched by wale offiay oy Grr lo cbdend a Mong nant» Shwe cHingld Jo
Coes ley Vetady Wy con mn uk de elfiew jeldbey be inure hey cam of le he rtd we be Ong
owt 5

274 , Plimbi) cy coe at Fie MOST, Vropng do get Ouey Som Simla Ruta as Gidt, 95
Pore, Gah She Same olfucin id Haz Seaurhy) eequriny hele Shere baer her bevesls

280. Plank 03 dulton off of SOS, Gud ten Yuk Jo dhe Tin, ale ab Sand
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 25 of 41

Rese CL Arann , hady wes alte Joe CW inuedy | They 3 Go unusual eee luke wor monn Prue
hae beth CSU cud “TER on mmele w aot supped bo be denfoed fom ew le We eHer ,
hy fen 5s tumbug banda of Pohay
281 Plennlff oad Spell reywopdel vol Ly be Send J TOU bette she Wer conemed cube
Rites Shep Sealy Ceomsrng er yrtalah Weatt by Aepede, Hos erehy a verns cyl Hak teu
Usd Ye cuter Guide allay) aud ash be be suk yo Ceol Pepulahin lusiead , wludy
Wedd he Gl 2 The MOST agrech ull, Wes cyetinedh ,
282 , “Thee diene Ws cvvnddes Wey Somapne Vent “Dv. bushher » 0%  Sowedlng vl
Sewn armies to ook. Plewahl) orrhtecd reudal Wealth chal] Say the name, ov Iter Harm Seay Ub
own, lak all refud Lo Weed ov spell He wae dole.

28S | De. Bein lem de Ve Scoaly Quga CE Atmog beronse he pequined meres
areal f, prom ao. Wy lo | Soevdlly cbt eck to peas} ‘ Ceusehor
“LSY. “Thy corded do CM tahreg te Conny Gethions aud wall hewn Frou inal

ple! had rthed ob go to Wee she bed do be Ship geednad by God Shy her wrevls Jo;
pole offers do GUed Vrouw,
26S. Pesala hilly Growsendred Bytes ing, hes Sond bo show her bveedis by wale ofl »
Mert than Guy fled droumehr eetaby Qantas grt in araiely howd IS Seema y ethane
Aureicy cud dlaprtiéion ober b orlues, cud hag had yeeuwing waybtunnd chew being Lened bo cher
luv betadls bo wale efflees ,

4
Ukbe Plats) abedel cupprovimalely Yawe owt of ell adkabiy vm dhe TO, cond one yuh coll |
Gu then wat  breylenre bat Ww Wallan CE.
LST. Plenuff wh wt cap Warlud Cfgesen at Welln CZ | audal athe chy she wed

dvontfened le Wakulla Cl mw, be Vee DTU dow Meee | Ged ten, Ue oles Op ak iS

hay he peu caly She Tagua (new pees a
L&3 . Plan wera Weludle CL Ame Cow copes wabely 21 wenty, Nam Agu Zerg
Jo Apd 2020, Deve due ck Walulle CX fwwee us She ety) Jo chew hey Vaveayly

ds duu wake shall .

D&G . Pleninf wtf Shep Stewed leans a wole, Cbtpawen Ow due ‘ but Yas elleces conde
dae Rta Wed Sfuwrcier 6 wale. Uke aw net regoae Vw be due Ay te/ bea ér «ee s |
240, locale ‘std Shp Reale) \eauing ® visiledhen Me ho pow ( wel coding J

Ihe dub Wetrdlun cartapayesd a uals Vemue ef tee lo de He shep Kara. i aul) D plenhif Cony bud e
Metuw . she ww He olen ed ouy chy nO Age bad eter Ling deme dee Starch »
24. Plat Gnd. her roowmdle ,  Wwonddg OVaey weve boty shop Sewer Cd @ yore,
- o . a ‘ c . ‘ / / o
mae kta er flaw deirwsbong ; dhe Cette ing lb vee au Voorn 2d) Rude hes te pep getenle
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 26 of 41

hs , Quah pect ned caany elie Of Biber CA vay chosug SO s
242.

Plant; y Ww press) ‘ae com foenn ent have j lake ak Welle Or Auney » fom Srames he
Mae dona edu che vol shy Sidr hw Gk al »
243,

fendi ms Shap Sead) upon leu dventled lo Florda Siabe Pram but He ofl
And ne vtyune her do dake off er Vom ov panty »

244. Dleade She Dodo 4 oa CM dicladon 1 Gah Mo rms due rputeed lo be Chey acta
whan Haug Wane Wow cells,
245.

“The haul pAlmp piel bus dady Haack TOE pomd in a male ws Seb é Shee.
Stars int be condagdd 9B by mule staff ‘

Thy Giirloduny , Mary didi do tae quire éengle plarni.f/ ecrteed ound Hou
due 5

247, Plaveti/ Ines grand Way cd a vrclakon of bev dial eg jo be pratected fom lf
Stow of Seapad cue bom mvoly awk Seif abe » “The F0C cadeils dead th Served alnaie
bor a wale office Yo deal lie breuilp) even im Ae¥bed pat Staudhes « ;
288. Ta Comighially the FOL mrannbeny Hol bY nek Sereual chun fir Yoak Sount wale effca
Jo bee) Ordlee true Ju sites Iie how Inenais Sud tk cua ey uy do ue Lore agile her ith no
Atunngl) contgdqunn y She veputt Yo de So.

DAG, Plaihi es sefewed Se Ms ot Hae Shep dub pokey | _ os cb euler & Auch Sdeeded
hur wale oftcet can |‘ leek hut dew’ fou |.
300 ,

Tr plambll’y Sppercme , Ye cverdbelmny mnagoly of, male offices Gre UmcendeAdlle
ifn dotercing Hoa poluy «The yngorly Ven cllew hello Rup he bre om and © shake “U
crt" ov fecy Sb on cad Hann be Sewnbud by a weld dhol alder boemy Jehen ont of fhe
‘SDI. They wieans Head Vurse ho Checte bo enforce Ue cheably eine vwaing OA Pedorval heme,
lo de So, and vot ie Clery orders |

Bol. Ore gud en Ginle uo Bow o chp ntl fuer Baran Saring , at Gimdg Slider
Paton ? ot aloud IDS4S cn  Seplunt 14, 2620, offi Sharing  Qcaled Gn vache fe ovale’
bo Shep Mardy Plambiff

ws. Shady baled) — E Bow'd cae wha he Clade of, DW ey bas Whee waar
UT vant bo He veguasded lw Yas Vanden Yak te Wesdimd pecdicelly alles bin te Ay Dre
Shp Sanka « |
304. Duntay Vee Shep Sead, Sherny (peadetlly orden) Plankll do dake off bur lore
ond Swindle ray lartasty , Wha be Looked dhetilly Cr an umnetesion caucwnd of chine,
305 , Carin Yar hecd yunp dey wt ft pea cally ame crn imme brags a en.
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 27 of 41

Cres. bo he Seeded. Se chads’ “The tabia bey wl be Chute Wc Crmpds  \vands | Pubwe
regum » Weebwmn Ye les, Sola of the Leh, erdemal Anal cea; Oud wins pokey of doe
306. LM, offic Yaak region plewsh f lo dhe off hev bra | Phere ‘s evin OC dither |
CL Many of Wroke Ptrwuk bur bo Show att Heo esboor- weahowd Contig vechork 5 praliindly Showing Peon
her Verena o
307, That ailully vw Leyed yuahfraher Gor Was |) sng lady (roluy hak pleuobyf
us Ohare of 3 fro dor fhe haonge of & Wawtowly ~  kerleed cles Yhat fronded ber daw aghs of
Pio Who hat bev wale tuk Gwale Gmabony, egacdly of browsing» Jo LOVtuhat acheg loead slid
per Whwe an mm y hous .

308. Som laf) lave Suppod LY a Binely wine buk Gy Yoo bobbed of Ye ' gpl Gordy
Lilies old  vrigual Covecege of Yow tame (and Quy Seabes cue Eeypenbey Comludhed os a Lage end
ridhah mons) Yas is Virrtetonalble »

304. Amado’ pessibie eweue a That bis dalla Jo bad Sule offtas Jo de ibs but of

aM Ship Bead reg tees lu efheer do ‘pe preent , ond Shere “ ayes odd ame vide uf wher
end. bal wed le be Ptedovwed } deg be cs in rtedovalole -

aD iD Wy we ole Rig 0 \amedueng Vong) le plank ; the be daunes Vins ghep duly! policy
wt) tvaled to inlumhonally am anh wouse eamtgindey mmakh ,
Sil Chifly ) gun hab ot coumed Siwy aller gland] Wink be dard iy Yee caer.

Kesh a+ Samet, cuk wet Specs cally eatewd by Hoe ‘Legal “Kenn agent her Ctr Seer
pabheDublay, che Voeldiny Ue wes ithe polity lo wuberendly eebukade ages ar Sor Me deco
Keclunne ue Vom:
312. Getta,  Plormbal inelins bw plecimut ak Stink Resa Coredhew) Cnsldule Aumey, tes
eto dame jnelrreuiy by Shelf ak — Conbral @Rue tn Grey lo ppotelwy bo Hog! Shey dub
fokiy cud” Sotrally cy’ ber 7 ne. be dretumalrae he Ga Clep ver Row Spacing Cod caboaet
She hous — Sulfereh by dram Gund Seuphes mm Se Aordg De padinet af Cow echiot
33. Hote, iy Combat vith dhe * Roth Sue dunt®, that hen Vt Cueled the purpose
of haming plannkiy , She wos honed around CM monty Rov to apparent veeden ) bub whan.
The Sree wy oy, Se etbw Leet peng heved ayemd CIA mendy itd A Sttunly gue Pak wt
ded! oh ube calny do pee baw egee ° .
3i4 SuViur, lami Was veptatelly tofu) enka Watt shelf dhol platamad on
SWS 4 wy harnbl bo hen, of ib Greally epauroudy he dyprphons , lotcawe she 4
wd anak 30 awe wed torte Hdl ireeitiny do Ufprere, Che Pemeay Crush by her lady’ 5 ctaverst
Shale, 64 bo Sulyounlly SWawe ber Mice .
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 28 of 41

31S. Attodng Je FDI pouy , wrinady heupd 4 inele wf diy on  Dueip lnnay Combrcinieh Admnshahe
Confmumial , SHOS) aad ceding thes rbbvhce ghebws, ave tel permilles to ede er poses Prew
fedorak ehedhre yard «

Sb. Daneby in pmale ongdeledey ave wel perdi) be st Shuey rated ab ell

ST, Mer Sucsuding “oy Ketone v. Toned ,  Plawtilf Und gue acteis de rors, oy semble

inmates tue allah do wae tovees by Shae ut wn Comprremmial sebbong °

318 , The’ Legal Tea’ calllsd the wnthluhsy , Wakulla CE Aum, camh iethuctel Prem Jo
jolene oll of Wee ghivny raeeg gue) Jo plead bv no guey reas .

‘S14, Plernhff alin purdadsh G pra of a a bine Kane Iamely Soro Pre

Famale — yoscbudy com been ort” Kom “The | Legal Weems Siptedreadly calle) cand fav bade She.
(Mahe So alls ee do Mee Youn, — dagsbe hain cheally bey | Leathe cmdein toy £ Phe Rearagh
te veda) Gad pilewwbl! wer etfwld Huw cast. .

320 , “Tromgindes mrdy We Sine boeen quiy ahdeea! @llurvele order fons’ Weal do wot inlede
Lares atk olf Sor wo Geen peadon

tH. The Bodo Conuph of the GCrrdy Dyson Rénas Team 4  Ugally Su put , Of
Ve Cortes ts of nenmedtcal Stal] 98 wall os wmwdoce! SJalf ) why ave Cubtloied jp wwolte ruched) chetarcns
ditt te che Gtr clays pow, invwly peute ,

ee Ture “dolby no Litinig of He CORT S trembed or Wwthed bo Comdecd then, Saft
loti) uo cow of »
8 FA Maye mewlos of the GET Nek never one wel wilt ov Spohecn 4, prenhff

atoud Guy edged of he yradaced eve ; ted Hee leeepug by oll p\enabf [Prvvateg Court. Pronduss
hue bo be  Stretned aad Ofprod by Me EDR,

$24. Ne! other welved a peychclegtead comachan he ee! verre dean Wh — wri riba?
Tin Qtupt ov cheney vendre predentard Ing (ire (ime Produ ‘

S2S. Plead] hes viet nade te Communicadun Gt all Uy Cg Prenat of we GORT
Ghowt her plaumet, Gnd Cuiwe of wo aubul duunag ee wafe aeowk ib ,

326. Pleinkl! ate hes tow been awtvally Renu) br Copenh Rerttynoonk Suaginy by the
GORT, she bed heey bad Guy Cemmucricebey rb Yheun Whoud bad abl ,

SLT, Pergle vepeatedly — aabng (Mimsy Cee. ord fur evel Reatgynutad Cugery ped)

hog inter lot tunlaaked Coy “rer bes Gey OM! Jy Oriduale bey te eee etn wane. Ds
cep her reque ss Siueply yids omlo the eller .

S2K Ai Ane & no aperta Itue fib be Canty Pebow, leied fen. ts eoutunee, yO Fete ew
Mey reedon — Sor Us Rruhot , f \enehiff boebwres Phe bts (Og lena Ree, Teen to be a
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 29 of 41

SH)» Grating Pell Rep a. Kechenz. a Aaneges bow Haw yee ef phugts cal
eure Sepnal alovae , aurea Suffeans yk dyeume She bag cuk Covdumy te Suffew i Ww an
Conunk Avenel ayppropmode de Chala, wdliny sued iagury } cmd.

342. Corin Plombel Renn Te Kean Provabire Aawmeges cigamtr a pelhy towh be have
Geld — naghgently ,  wlandly > wihoonly , or i aly Jo ietohiale agamsh plamhlf . for owe
Durcunt agent? ead, wkivrdud im Cucadene bh Yee Seyenby of Vow aokos , anh

SHS. Gury Saad om ah tems Lahey geen ,

oa, Recor of oy Cost “my Pas Fuab , oud |

SHS Ary dahon a | Ye cous Jers ovary proper ond equnleblo

Deled % Rovere 2, lew

Venbicahin

L hee wad Yoo Soregonny Com plana Gud hartley ven By a he webles alleged Uhevera
Ort deus ; Beagr th de vagllen Mega upon Qoaadeny cad belief ‘ ang, hbo Hote ,
peheave, dun & be dove. DL carhdy inal pemaldy ef, paqueny had Hee Lovegomy “
dene Cink Cowal 2
. 7 Ow
Creel ak Rarlod  Lleka om  Movewloes 27, L020.

Raper Paty Gaownc ted i.

ee

 

 

 

DC # YU Ose

Honda £dobe Percon
P.0. Bow 00
Kad , £L 32083
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 30 of 41

frodedkn tdi The leas, ganted by Ye Und Slater Conchtaher , setuthyy wr fain y Selfrng y

phgtiad impny | awd eundind key +

336 . Deindads Tech» Mantot of DOE Ceph Copeland, Mambus of FO6C Condy Yegephoda Roman
“Teun po S- Cehu ,  Meldllan) “Tauner, Gnd Teme Poynter, Wave. wmalecrenily whendired vith de detebweit
of, plaink|)¢ wnednced pet , Gf non- onidhel pteeennel : viclabig panel’ ngwe je be Kee of Cowk and
Unusuoh Pruminmant , gaunlucl by the Lapp Amendwaat lo Hae Uneled Sdaer Cert iitaboy , omh of expel
Proeion yuley He te, Yuravonderd by She Fowdeanth Awendingnt Yo Vo Unnile) debit Conc brbedein «

337, Dehanbawly Fach, Menbus of LDL Legh Vrpadnud » Manhes of Dor Gendw Orycphoin Revie
“eam, T. tole, Teas, Macant OW , Dap, Goth » Howedl €. Taw TD, ond owen Poplar)
jawe alk -torgigd mm maheres aleuse, of penn i by Parcrangiy coud imbechonolly Placing her? » dlawger
Gr ig Seduakeg Whe da fee af Smrch hue ives Prem de nem Qo Ye  Kynal alu wo Aly
orvderd Voy Haun nl cared owk by effrus Seotosang Hoty ovded , wy ovdie Jp relobale ogee pith
beta, praonb eg chratlingad Yew wn landed, snelncinys Gu Pregca died cLtheans : vilabug hey qth
Awinboreat QW ro be Fee of Cowl soush Unntash Pitan wend pak baw fous hunt Gerdwend> Agi to
Eqjmel Protection turks che low gurcwinteed by Yo Unnled Sales Covtiabon y Coan Qlanhif — prewy cuffs,

pieyiead mguey ¢ Gnd ewund duets
SR. Plarwhy  Peugn <T. Keene Na i plan, cdeynale, ov tomplde toned a Var to iedeeds
fre wwrorgs detente) inertia» Plarnbl) hed bum cink wll Cowkme ty be wrepaatly Unfawtd by the,
Comal of the Aufendsnly wales The Cowl grant Ve decanter cmd, im gondie cehnf plumb] see o

(J hege Fore , Yew planta et peclfily pry dhe cour tude qodgemuh ”

334. Granby plant) Reap J. Kechene a Aedlavdhon hat” She cds cmd ornetcor Aasenteed
haven vicladed ha eye tunbior Haw Cov babwhen ond lend gf Vee Unde Claes , Gnd

FAD. A rtlnany nk pitmununt hnpanelinr ewlemy Yuk (1) plambl be geinkeh Sowa
Rewttgnma Largery (2) anh cat te Facal Wan cemoveh cone § (3) cmd be flaw m a Letuces
Ck Sepermle fom  ovher mimaly , m 6  demele peg lehadeerg shake, cueing Hag drtaknent (ay Hen
eechohil dal) Gtomaninbly caged je Gjnele eohlbens only (5) al Snot Tre tualiacy — Shop dh
pol ey iwamedeabely Cua and velo Jo Whee Spl Send! peeey | 5 U6) nk ath cachou — perfenmed by

non medal stalf do ndes Reve. int plank) ‘ patdvead Can Clase immaoda cy ° bud
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 31 of 41

Gindiy Dasara j wa boa, We vranwe ue bas regedang hey Aftab veguu's ond Averemees ben
Seowah Pscingnoiok  Luagiry
‘S24. Plomlily rode took | TL wes qos Bellamy cords’ i Skt Some Qe cat ead by
Atwud Ware, SS mendes who hed opeeteh commnbatior Campf, ab the Nurenloeg dvady . DP wes
found bo be tigalficul Ov all cous.
Y, Sr het of Legah Remedy
Sto | Phenol) Reap Ju Ketheme nas ded Yar Prone’ Griwaroinete Syste Gud echowied
CB raamy ef doe olere- wrenhinid Ads 64 Sha flotilly end 4 Parle Hee Less of Steal ows
of Peper Look Plamif dod tel Wrow de ear daly A MMe gpriyemus Sto bes Giles ; of
Jn. tecat roms of ad pedo im veld , uk the FDC H Hepend Io ep veieds of all of
dese Grad They Caan Ruby We Petoee) duis ihe rscerey press ‘
33i. Piemndeff Nabe Ryle B dhe emhwutled guevonce cad cupped A, fla By.
Leaps Kelercah” > the guides wos Gidsw 3-]-2oZe, On 3-lO- low hb uh Sub a
veypose, Shebug hake “Ue wee dlumid « OW 3 2e-2020 Ge cappflealed Mey Aocinion ,

$52 Plena) vealigs anh wurpandes by yeferene poagoyhs |- 331.
333. Defendants Lind, Manthes of FOOL Legal Peputmend, Manbes of FDOC Gerber Mya ghrsa
Renew “Tetwn, | Michelle Sehyust, T- Boden, + Hanh» G. Espino , Melellan cum Vamea
Pesguliy ym Sad Ollipade prdaffornee Jo plambify genio owidtud ech of hin aay ak (done
Drorledge of Har Iarmy cans by cesied » cnclaled phar! nghbene, Few of Goel can Vimval Prsrnsinnnad
prenatal by Yaar Ergin Qwondmnih of The Unde Glades Cons Iobatey o
S34 | Delrdants Myles of £06C Legeh Veperwodt , Mundus of FOOL Cente thaphena Rene Tear ,
“Tame cwk Tams , have alte chuely dehin adam’ be deny prewhlf au je bla Cae ny
Laser Mi dle |e ape Wer Agelre Gad dee people Ad ponsblg bor haw Cart Cetsbng A Weluacrt on media
chgttde eo ceeasuing ie y vrolabey po vennlefl *s ag be Beef Grak mk thomeuad Pee mand
Grralicd Voy Hos Egle Avntndoenk of Vor Unk Sirdar Com tehin «
335 « Pefpndasts — Saeke,  Mambed of FROL Legal Ceperbronk , Mila of Epor Gerla Digspienn Revs
Teom, ST. Cour, Todd, Maclank Olde | Ow, Wels, Hewenk E. Vadew I, ond Tamnicas
Pispalie Frayer , woth Ptendh banedye of Whe rn <6 Bonet (raurnr j MGigent, ple plomiy/ imbe
anges From ouch Sle bret suffer — Crush mh anal Pawithncal vrai plumb’ Exgiatly Avandamet
nae _ guecnlecely beg She Unt Sdobes Com highen , Gk Wer Lenten. Awend vent rgint jo 2g pnal
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 32 of 41

VT. Legeh Class

B. Place fe fealleges avd iucarporclel by Create Pargrps WIZ.

M. Tha elbeale sndffeee bo the plasnhifs ag yrdiad med, ua. haat cami Ala of Buse ener
vad AMS, cnk he wonton neghgour by whic plamblf bas Sufferd co pater of cote: pwducnl be

de Oath do prow bigyghe dre Gn placevrendl this way Sean, pawn] SS Contemt Jor her Gum Saheb, coud)

Sear yer Gnk pebulld mn hey plewmak in ante ceondding Wye lave vepeadddly eb ke ctfenlt , bole;
Gnd Soyvel cue, virtoler plambif) Reig “T. Kahuwy gle od Cont bdy Crt ond Unutid Prompt
tundiy Ha Big Pwevbnusd Se tle Unabed Sirales Corghbabon cond Atmel of 24a Protea of Way unde
Vie Cudeunth Amended tx Yhe Ubuled Sdaty Coupobuber .

IO. The ganda] ad > plain | cdsguele ( Cuatplele, remedy Gk Vay be ceding re wwnryd dexcled
Wngiein ,  Pleundblf hay eon and tal Combe do be wrepembly erjured by Fie cendud of We Repeudan aya lets
Shs wnt qprak, he dedavabery cin rgunchie coe} plawh?} Soler.

 

Whure Gre , pacwdsl rg peotfnll, (rreys Saad Vos Cots San be ey § Grou paw ! 2

io. A Adedechos Shak Ihe dS Gud crumdpons Aodevled Wereun podaled ghana 5 nals uit Yoo,
Condilubenn ond News of Hee Opaled Sdalet’
17. & Prebinnneny cud pomanenk unurahn sheng (ere. S, Tada he prude - nek p lent Promtsonelly

be hewed jG Some — eninemwenh Seperle ban all eV rely Gh aw Lewaly imtbbaseiny whole,
Cnsisbing Sewail Rearmed Sugg) hak pla be grade Grud basin Surgery ond dat Hus cine
be provid im Otierdame tet ak applusbic Slate omd Pedal (aus Gah Inah eve Goonel Reetiya rend Surgery
i opicke plaintif be vecwihid ond permunenly obtgid toe Gon tubdakey ° aah that plawhff be
Grendel adipic mis do prove Sov Intine peongual dreabuadl’ x

KR. Compensatory hawages wa the amount / 420, coo Oana She difendew fv bows Guffevel by dhe.
poten of abs Yat bos Caged her phil mya | Oud Rahrewe emchend aml (Magrhcloge cal hen.

4, & Jy jn on cM Snake vanes .

2b. Plaanhdf $ Cosls in Mal Seth

dU, fresy odlabonl wi) Wd Court eos gush, egubable ; cmd proper’
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 33 of 41

Qaled © 2H Noveuloey LOZ
Ree peck Filly Selowalled i

PO. Bee S60
Rails , LL 32083

\ € as é
Venti cohen.
ST hae vead We ereging COyn phanal Gah hereby Venly Yak Ye mallien, Megal Uaavern
we, Se, axagk do walks allgd om iwlevinahig cia hele) j ond, af to Yue, Le bel
than Yo be uw 9 TE cehly unde pemlly of Gequey hak We Laegenes h dvwe Gnd canna,

read at Railed , Penda on DA Nestuube 2020,

 
 

R Kechune,
DCH YSIBE , Floada Gale Prdon
Pd. Bex S00

Rated SL 320%3
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 34 of 41

Clesetepmaact ; ond 4 indesoe whieh hag wot bean Atlenmind ov dupred ag yk by wre FDC Adipile how
Cemguabinl yegueais Sar cbse tad ) dis wend Lutes Seppo her plowmank in Rede Seedy i soy
Pind of Aedueahed waluad ov probedbie Ura , tidy ay wok Voeenr done ov) Jo hus Paowiedge ; ever ctiestedd heyenk
a upload lua.

Ht. Seoul Rectynwerl- Gugey tou cllesake the prawhlf's dycghona ¢ which hay led ie bo emalbyle Guede

CMemnpls . malady an ovdete on ger SO, ObOimg of © Tylend wa ithoy 2OIK for wAwh le tpey \nes rbalaed
Gh walle cWenpls Jo bury iced © Guth, “Ue would vegpine bey Yo he heat) in Rms Seca idnndy
urd chine he hammer’ oh volume Eom vada rvvnby , we mie of fully donne ctdeuth, He mse
f fat wie of Fone by wal Stall , cundk all pth Pobiow Yak amie Gran hev beuy howe wm a melz
Secbly jG saewkd elias He werk Br Guy Spedid Wey» cans bo Sepocle ches 60 prredwe
manogomsnk fvly Ye erly Cuude of avon Vhok Sebehas Hw posure dalemnne, ¢ whee bo Never
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JUN O18 2020
PART B - RESPONSE
Department of Corrections
Bureau of inmate Grievance Appeals You
KEOHANE, REIYN Y55036 20-6-11377 FLORIDA STATE PRISON D1167S
NAME NUMBER GRIEVANCE LOG CURRENT INMATE LOCATION HOUSING LOCATION
NUMBER

 

Appeal Denied:

Your request for administrative remedy was received at' this office and it was carefully evaluated. Records available to
this office were also reviewed.

In addition, the institution was contacted and they provided this office with information regarding the issue you
presented.

Please be advised that an inmate has the responsibility to write the grievances legibly and if not then it can be returned
to the inmate without processing.

It is the responsibility of your health care staff (medical and mental health) to determine the appropriate treatment
regimen for the condition you are experiencing.

In the future, please be advise that the grievance process should not be used to request medical or mental health
treatment.

You may address medical issues at your chronic illness clinic visits and you may address mental health issues by
submitting an Inmate Request form (DC6-236) to the mental health staff or discuss your concerns with the mental
health counselor during your follow-up visits.

CONFIDENTIAL HEALTH RECORD/CARE INFORMATION INTENDED FOR ADDRESSEE(S) ONLY.
UNAUTHORIZED RELEASE OR DISCLOSURE MAY VIOLATE STATE AND FEDERAL LAW.

7. Boudeu ul
SIGNATURE AND TYPED OR SIGNATURE OF WARDEN, ASST. ATE

EMPLOYEE RESPQNDING WARDEN, OR SECRETARY'S
REPRESENTATIVE

Michelle Schouest, IISC

 

 

 

 
 

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APR 0 1 2020

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TO: [] Warden (J Assistant Warden [X] Secretary, Florida Dé
From or IF Alleging Sexual Abuse, on the behalf of: ~

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Part A Inmate Grievance aO-G 137)

 

 

 

 

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*BY SIGNATURE, INMATE AGREES TO THE FOLLOWING # OF 30-DAY EXTENSIONS: @ / .
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INSTRUCTIONS

as well as for filing appeals to the Office of the Secretary in accordance with Rule 33-103.006,
a Copy of the initial response to the grievance must be attached (except as stated below).

This form is used for filing a formal grievance at the institution or facility level
Florida Administrative Code. When an appeal is made to the Secretary,

When the inmate feels that he may be adversely affected by the submission of a grievance at the institutional level because of the nature of the grievance, or is entitled by
Chapter 33-103 to file a direct grievance he may address his grievance directly to the Secretary's Office. The grievance may be sealed in the envelope by the inmate and
Processed postage free through routine institutional channels. The inm

ate must indicate a valid reason for Aot initially bringing his grievance to the attention of the
institution. if the inmate does fot provide a valid reason or if the Secretary or his Gesignated representative determi

ines that the reason supplied is not adequate, the
grievance will be returned to * ETE at the institutional level pursuant to F.A.C. 33-103.007 (6)(d).

4/1/29 MAR 30 2020

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Submitted by the inmate on: Institutional Mailing Log #: Mf, K 20 9 4OfO ys Linjj—

 

   

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DC1-303 (Effective 11/13)

Incorporated by Reference in Rule 33-103.006, F.A.C. -
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 37 of 41

PART B.- RESPONSE:

 

KEOHANE, REIYN Y55036 2003-118-007 WAKULLA.ANNEX J3410L
NAME NUMBER  FORMAL:GRIEWANCE. CURRENT INMATE LOCATION’ HOUSING LOCATION
LOG NUMBER

 

CONFIDENTIAL HEALTH RECORD/CARE INFORMATION INTENDED FOR ADDRESSEE(S) ONLY.
UNAUTHORIZED RELEASE OR DISCLOSURE MAY VIOLATE STATE AND FEDERAL LAW.

Your request for Administrative Remedy or Appeal: has been received, reviewed and evaluated. Arinvéstigation reveals
the following:

This: needs to be addressed through the sick call system.

Based on the foregoing, your Request for Administrative Remedy is D E N1E-D. You may obtain further administrative
review. of your complaint by obtaining form DC1-303, Request for Administrative Remedy or Appeal, completing the
form, providing attachment(s) as required by Chapter 33-103,.and forwarding to the Bureau of Inmate Grievance
Appeals, 507 South Calhoun Street, Tallahassee, Florida 32399-2500.

Responding Employee: E. Hand, Health Administrator

Signature of Representative: J. Coker, Warden

 

 

 

 
     

 

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SIGNATURE AND TYPED.OR PRINTED ace SIGNATURE OF WARDEN, ASST. DATE
EMPLOYEE RESPONDING WARDEN, OR SECRETARY'S
REPRESENTATIVE.

MAR 2 0 2020
ASSISTANT WARDEN
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 38 of 41
co i FLORIDA DEPARTMENT OF CORRECTIONS

a REQUEST FOR ADMINISTRATIVE REMEDY OR APPEAL

C] Third Party Grievance Alleging Sexual Abuse

TO: [] Warden CJ Assistant Warden _] Secretary, Florida Department of Corrections
From or IF Alleging Sexual Abuse, on the behalf of:

Keshone. Rew J YSS036 Wakulla QE Aymore
Last First’ Middle Initial : DC Number Institution

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- < 5 Part A~ Inmate Grievance

 

 

 

 

 

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INSTRUCTIONS

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This form is used for filing a formal grievance at the institution or facility tevel

the Secretary in accordance with Rule 33-103.006,
Florida Administrative Code. When an @ppeai is made to the Secretary,

ust be attached (except as Stated below).
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institution. if the inmate does ween t i or if the Secretary or his designated representative determines that the reason supplied is not ad
-8rievance will be returned to thei ‘ ‘ocesst

n Institutional Mailing Log #:

 

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CENTRAL OFFICE GRIEVANCE FILE
DC1-303 (Effective 11/ 13)

incorporated by Reference in Rule 33-103.006, F.A.C.
Case 4:20-cv-00559-WS-MAF Document1 Filed 12/07/20 Page 39 of 41

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